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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

NATIONAL WILDLIFE REFUGE ASSOCIATION,                             )
DRIFTLESS AREA LAND CONSERVANCY, WISCONSIN                        )
WILDLIFE FEDERATION, and DEFENDERS OF WILDLIFE                    )
                                                                  )
       Plaintiffs,                                                )
                                                                  )
               v.                                                 )
                                                                  )   Nos. 21-cv-00096-wmc
RURAL UTILITIES SERVICE,                                          )   & 21-cv-00306-wmc,
CHRISTOPHER MCLEAN, Acting Administrator, Rural                   )
Utilities Service,                                                )   Consolidated.
UNITED STATES FISH AND WILDLIFE SERVICE,                          )
CHARLES WOOLEY, Midwest Regional Director, and                    )
SABRINA CHANDLER, Manager, Upper Mississippi River                )
National Wildlife and Fish Refuge,                                )
UNITED STATES ARMY CORPS OF ENGINEERS,                            )
LIEUTENANT GENERAL SCOTT A. SPELLMON, Chief of                    )
Engineers and Commanding General, U.S. Army Corps of              )
Engineers, COLONEL STEVEN SATTINGER, Commander                    )
and District Engineer, Rock Island District, U.S. Army Corps of   )
Engineers, and COLONEL KARL JANSEN, Commander and                 )
District Engineer, St. Paul District, U.S. Army Corps of          )
Engineers,                                                        )
                                                                  )
       Defendants,                                                )
                                                                  )
                and                                               )
                                                                  )
AMERICAN TRANSMISSION COMPANY, LLC,                               )
DAIRYLAND POWER COOPERATIVE, & ITC                                )
MIDWEST LLC,                                                      )
                                                                  )
        Intervenor-Defendants.                                    )


 PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
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                                             INTRODUCTION

        This case involves challenges by Plaintiffs National Wildlife Refuge Association,

Driftless Area Land Conservancy, Wisconsin Wildlife Federation, and Defenders of Wildlife

(“Conservation Groups”) to several federal permits and authorizations granted by three

Defendant federal agencies for the proposed controversial Cardinal-Hickory Creek 345 kV high-

voltage transmission line (“the CHC transmission line”):

         (1) The Rural Utilities Service’s (“RUS”) Record of Decision approving the

              environmental impact statement prepared for the project;

         (2) The U.S. Army Corps of Engineers’ (“Corps”) decision to use so-called “general”

              permits to allow this massive transmission line and high towers to run through

              protected rivers, streams, and wetlands under the Clean Water Act; and

         (3) The U.S. Fish and Wildlife Service’s (“USFWS”) decisions to permit the massive

              transmission line and high towers to run through the protected Upper Mississippi

              River National Wildlife and Fish Refuge.1

        This massive transmission line and up to 20-story-high towers would cut a wide swath for

about 101 miles from the Hickory Creek substation in Dubuque County, Iowa, and then



1
  The Public Service Commission of Wisconsin (“PSCW”) granted a state “certificate of public convenience and
necessity” (“CPCN”) for the Cardinal-Hickory Creek transmission line in September 2019. The merits of that
decision are currently on appeal before Judge Jacob Frost of the Dane County Circuit Court with regard to state law
issues (Case No. 19-cv-3418), and before the U.S. District Court on federal law issues involving constitutional due
process violations under 42 U.S.C. § 1983 (Western District of Wisconsin Case No. 19-cv-01007-wmc). The PSCW
decision was tainted by improper ex parte communications and undisclosed conflicts of interest on the part of
former PSCW Commissioner Michael Huebsch. On June 28, 2021, transmission companies ATC, ITC and
Dairyland Power filed a request with the PSCW to rescind the CPCN approval because they admitted that at least
two of their agents, as well as others, engaged in secret text messaging using the “Signal” encrypted system on a
regular basis with former Commissioner Huebsch while the CPCN case with pending before the Commission. See
Request to Reopen Docket No. 05-CE-146 (PSC REF #: 414396),
https://apps.psc.wi.gov/ERF/ERFview/viewdoc.aspx?docid=414396; Request to Reopen Docket No. 05-CE-146
(PSC REF#: 414398), https://apps.psc.wi.gov/ERF/ERFview/viewdoc.aspx?docid=414398. The PSCW has declined
to do so. Discovery on the PSCW’s violations is ongoing in the Circuit Court proceedings, and a trial is set before
Judge Frost on September 29 and 30, 2021.

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supposedly through the Upper Mississippi River National Wildlife and Fish Refuge, and then

through the scenic Wisconsin Driftless Area’s landscape, family farms, protected conservation

areas, rural communities, and vital natural resources, ending at the Cardinal substation in

Middleton, Wisconsin. Statement of Proposed Facts (“SPF”) at ¶ 1. Because the U.S. Fish &

Wildlife Service has now withdrawn the right-of-way through the protected National Wildlife

Refuge, however, there is no connection between the segment of the proposed transmission line

in Iowa and the separate segment of the proposed transmission line in Wisconsin. These are two

“transmission line segments to nowhere.”

       Although none of the federal approvals have yet been reviewed by this Court, the three

transmission line developers—Intervenor-Defendants American Transmission Company

(“ATC”), ITC Midwest, and Dairyland Power Cooperative (collectively, “Transmission

Companies”)—have already commenced construction on the Iowa side, and stated that they plan

to commence construction of their proposed massive transmission line on the Wisconsin side in

October, 2021. SPF at ¶¶ 155, 156. They have already cleared most of the right-of-way in the

shorter Iowa segment to the ground, including over steep hills and through forested areas, and

have begun construction. SPF at ¶ 155. The Transmission Companies argue that they aren’t

planning to do any work within the Upper Mississippi River National Wildlife and Fish Refuge

until October 2022, SPF at ¶ 157, but they see no barrier to building the massive transmission

line right up to the boundary of the protected National Wildlife Refuge on both sides.

       They seek to do all of this construction causing extensive environmental damage before

the Court can address the merits of Plaintiff Conservation Groups’ lawsuit. To paraphrase the

Queen of Hearts’ misguided approach to the judicial system in Lewis Carroll’s Alice’s

Adventures in Wonderland: “Construction first—verdict afterwards.”



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        While they continue construction with its resulting environmental harms, the three

Transmission Companies and the three Defendant federal agencies are also requesting that the

Plaintiffs’ lawsuit challenging the illegal permit approvals be stayed and put on indefinite hold.

Case No. 21-cv-00096, Dkt. 49, 50, 54, 60. The Transmission Companies and the Defendants

“cannot have it both ways.”

        The issues in the case are straightforward and purely legal. Plaintiffs contend that:

        1. Defendant RUS’s environmental impact statement (“EIS”) for the proposed CHC

transmission line repeatedly failed to comply with the requirements of the National

Environmental Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq., and the Council on

Environmental Quality’s (“CEQ”) applicable environmental review rules for several reasons,

including: (a) impermissibly defining a “purpose and need” for this project so narrowly as

“increas[ing] the transfer capability of the electrical system between Iowa and Wisconsin,” SPF

at ¶ 79, which precluded full and fair consideration of reasonable alternatives other than building

a new transmission line across the Mississippi River, including alternatives that are less

environmentally damaging and more cost-effective, see Simmons v. U.S. Army Corps of

Engineers, 120 F.3d 664 (7th Cir. 1997); (b) failing to “rigorously explore and objectively

evaluate all reasonable alternatives,” including non-wires alternatives or “alternative

transmission solutions,” that are less environmentally damaging and more cost-effective (40

C.F.R. § 1502.142); (c) failing to “rigorously explore and objectively evaluate” alternative

transmission line routes that would avoid cutting a wide swath through the protected Upper

Mississippi River National Wildlife and Fish Refuge and scenic Driftless Area landscape and



2
  Unless otherwise noted, all references to 40 C.F.R. parts 1500 to 1508 (the CEQ regulations implementing NEPA)
are to the 2019 version of the regulations, which were controlling at the time the environmental review for the CHC
line was completed.

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vital natural resources (40 C.F.R. § 1502.14); (d) failing in any way to assess the cumulative

environmental impacts of the proposed CHC transmission line—“the incremental impact of the

action when added to other past, present, and reasonably foreseeable future actions” (40 C.F.R. §

1508.7)—together with all other transmission lines and development projects including, but not

limited to, the recent past CapX2020 and Badger-Coulee high-voltage transmission lines, and

reasonably foreseeable future high-voltage transmission lines built in or proposed for this

geographic region, see Habitat Educ. Center, Inc. v. Bosworth (Habitat I), 363 F. Supp. 2d 1070,

1078–83 (E.D. Wis. 2005); Habitat Educ. Ctr., Inc. v. Bosworth (Habitat II), 363 F.Supp.2d

1090, 1098 (E.D. Wis. 2005); Habitat Educ. Ctr., Inc. v. Bosworth (Habitat III), 381 F.Supp.2d

842 (E.D. Wis. 2005); and (e) failing to adequately analyze the climate change impacts of the

construction and operation of the massive CHC transmission line, including fossil-fuel electricity

generation supported by the line.

         Consequently, all of the federal agency decisions related to this project are invalid

because they have not been preceded by a lawful EIS.3

         2. Defendants USFWS, Wooley, and Chandler violated the National Wildlife Refuge

System Improvement Act of 1997, 16 U.S.C. §§ 668dd–668ee (“the Refuge Act”) by conveying

a right-of-way allowing the proposed huge CHC transmission line with 20-story high towers to

run through the protected Upper Mississippi River National Wildlife and Fish Refuge. The

Refuge Act flatly prohibits any private economic use of a National Wildlife Refuge that is not

“compatible with” and does not “contribute to” the Refuge’s wildlife conservation purposes.

Whether the approval is structured as an easement grant, as originally done, or as a land




3
  Defendants try to minimize the federal role in this project, Case No. 21-cv-00096-wmc, Dkt. 50 at 4, but, suffice it
to say, this massive transmission line cannot be built without federal permits, easements, and approvals.

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exchange, as the Transmission Companies now propose, the consequences are the same, and

both violate the Refuge Act.

       3. Defendants the Corps, Lieutenant General Spellmon, Colonel Sattinger, and Colonel

Jansen illegally authorized the discharges of dredged and fill materials into “waters of the United

States.” Instead of completing an “individual” permit review, these Defendants chose to use the

Corps’ illegally authorized nationwide and regional “utility line” general permits for this massive

high-voltage transmission line. Section 404(e) of the Clean Water Act, 33 U.S.C. § 1344(e), only

allows general permits for projects and project categories that separately and cumulatively will

have no more than “minimal adverse environmental effects when performed separately, and will

have only minimal cumulative adverse effect on the environment.” General permits are

inappropriate for the massive and environmentally destructive CHC transmission line. The

general permits also violate NEPA, because they were not preceded by an environmental impact

statement, and violate Section 7 of the Endangered Species Act, 16 U.S.C. § 1536(a)(2), because

they were issued without the required programmatic consultation.

       By granting permits or considering possible federal financial assistance for the CHC

transmission line project without a legally compliant EIS, all Defendants have violated the

National Environmental Policy Act in addition to the violations of the Clean Water Act,

Endangered Species Act, and National Wildlife System Refuge Improvement Act as summarized

above and explained in more detail below. Plaintiffs therefore request that this Court vacate the

challenged federal approvals as arbitrary and capricious, an abuse of discretion, or otherwise not

in accordance with law under the Administrative Procedure Act, 5 U.S.C. § 706(2)(A).




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                  STATEMENT OF FACTS AND PROCEDURAL HISTORY4

I.      Description and Current Status of the Proposed Cardinal-Hickory Creek High-
        Voltage Transmission Line.

        The proposed Cardinal-Hickory Creek high-voltage transmission line is planned to run

for about 101 miles between Dubuque County, Iowa, and Middleton, Wisconsin. SPF at ¶ 1.




        Map from the Record of Decision on the NEPA Review, ROD007625

        The CHC transmission line towers will be about 195 feet high (i.e., 20 stories high) on

either side of the Mississippi River crossing, and 150 to 175 feet high (i.e., 17+ stories) along

most of the route. SPF at ¶¶ 1, 125. The towers will be built with two types of foundations: one




4
 This brief is accompanied by a Statement of Proposed Facts (SPF) as required by this Court’s summary judgment
procedures.

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would require holes 3 to 6 feet in diameter and 20 to 30 feet deep, and the other would require

holes 5 to 12 feet in diameter and 20 to 60 feet deep. SPF at ¶ 151.

       The proposed CHC transmission line will have a 150-foot-wide cleared out right-of-way

and a 260-foot-wide cleared out right-of-way in the Upper Mississippi Refuge. SPF at ¶¶ 2, 127.

The right-of-way will be cleared of trees and vegetation to the ground before construction, and

vegetation will need to be kept down through cutting and herbicides for the entire life of the

transmission line. SPF at ¶¶ 147-149.

       In Iowa, the proposed transmission line would begin at the Hickory Creek substation and

run for a short segment through Iowa before cutting a swath through the Upper Mississippi River

National Wildlife and Fish Refuge (“the Refuge”) and crossing the Mississippi River to reach

Cassville, Wisconsin. SPF at ¶ 108.




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       Map from the Record of Decision on the NEPA Review, ROD007626

       The Upper Mississippi River National Wildlife and Fish Refuge covers over 240,000

acres and extends 261 river miles from its north end at the confluence of the Chippewa River in

Wisconsin to its south end near Rock Island, Illinois. SPF at ¶ 109. The northern and southern

boundaries of this protected National Wildlife Refuge roughly correspond to the northern and

southern boundaries of the four-state Driftless Area. SPF at ¶ 110.

       The Upper Mississippi River National Wildlife and Fish Refuge is designated as a

Wetland of International Importance and a Globally Important Bird Area. SPF at ¶ 111. The

Refuge is located within the Mississippi Flyway, a major north-south bird migration route used

by up to 40% of North America’s waterfowl. SPF at ¶ 112. The Refuge’s wooded islands,

marshes, and backwaters in Wisconsin, Iowa, Minnesota, and Illinois, provide a haven for a

plethora of unique fish, wildlife, and plants. SPF at ¶ 113. The right-of-way through the Refuge

includes both non-forested and forested wetlands. SPF at ¶ 126.

       The Transmission Companies propose to build the massive CHC transmission line on a

new right-of-way through the National Wildlife and Fish Refuge. SPF at ¶ 123. The Developers

have agreed to remove an older 69 kV transmission line that crosses the Refuge, and to relocate a

161 kV line to the new CHC transmission line right-of-way. SPF at ¶¶ 121-122. The proposed

route for the CHC transmission line would follow a different path than the existing lines,

crossing the Mississippi River over a mile north of the existing transmission lines’ crossing of

the River. SPF at ¶ 123. The CHC transmission line would then cut a wide swath through the

scenic Driftless Area landscape and communities in southwest Wisconsin on the way to ending

at the Cardinal substation in Middleton, Wisconsin. SPF at ¶¶ 1, 139.




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       The Driftless Area, unlike much of the Midwest’s landscape, was not flattened by

glaciers, and contains rolling hills and deep river valleys. SPF at ¶ 140. It is a “truly unique

landscape, rich in natural resources and well-known and appreciated for its natural scenic

beauty.” SPF at ¶ 141. It contains many rare and unique woodland, prairie, and riparian habitats.

SPF at ¶ 140. The Driftless Area is home to numerous endangered and threatened species,

includes many cold water trout streams and high quality wetlands, and contains several

designated Important Bird Areas. SPF at ¶ 141. The proposed route for the CHC line would run

along and through the Military Ridge Prairie Heritage Area, which is identified as a high priority

for landscape-scale grassland protection and management by the Wisconsin Department of

Natural Resources. SPF at ¶ 145. It would also pass near and through numerous other natural and

recreation areas, including the Black Earth Creek Wildlife Area and the Southwest Wisconsin

Grasslands and Stream Conservation Area. SPF at ¶ 146. With a “largely rural character,” the

region “has emerged as an incubator for innovative agricultural enterprises, a home to thriving

local and organic food economies, and a destination for visitors who appreciate the area’s scenic

beauty, recreational opportunities, and attractive communities.” SPF at ¶ 142. The Driftless Area

has a robust tourism economy based on the region’s natural and outdoor recreation resources.

SPF at ¶ 143.

       The Transmission Companies have already begun building the CHC transmission line. In

Iowa, the Transmission Companies have cut down trees, cleared most of the right-of-way, and

begun construction. SPF at ¶ 155. In Wisconsin, the Transmission Companies have stated that

they plan to begin construction in October 2021. SPF at ¶ 156. The Transmission Companies

state that they plan to begin construction of their massive high-voltage transmission line, with

195 foot high towers at the river crossing, through the Upper Mississippi River National Wildlife



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and Fish Refuge in October 2022, SPF at ¶¶ 125, 157, after completing construction to the extent

practicable up to the Refuge’s borders on both sides. In combination, the adverse, damaging

environmental impacts are huge, and “all reasonable alternatives” were not fully and fairly

considered.

II.    Adverse Environmental Impacts of the Proposed CHC Transmission Line and High
       Towers.

       Preconstruction and construction work will cause significant damage to the environment,

resulting in injury to Plaintiffs’ members’ use and enjoyment of the environment and causing

direct harm to Plaintiffs’ organizational interests. Preconstruction activities include clearing the

full right-of-way of all vegetation. SPF ¶ at 147. Trees and plants in the right-of-way would be

cleared with mowers, by hand, or by “sky trims, processors, or harvesters.” SPF at ¶ 148. The

right-of-way for the selected route for the proposed CHC transmission line covers 1,935 acres,

including 352 acres of grasslands, 250 acres of forest lands, 17 acres of shrubland, and 76 acres

of wetlands. SPF at ¶ 158. The selected route would cut through approximately 114 different

wetlands. SPF at ¶ 159. The damaging impacts to wetlands “would include fill activities from

transmission line structure construction, tree clearing within the ROW, and construction of

access roads and staging areas.” SPF at ¶ 160. These “wetland fill activities . . . are considered

permanent impacts resulting in wetland loss.” SPF at ¶ 160.

       The Transmission Companies would build 14- to 20-foot-wide access roads and work

platforms. SPF at ¶ 150. In hilly places in the Driftless Area with a steeper than 10% slope, the

Transmission Companies would regrade structure sites and work areas to be level. SPF at ¶ 152.

The Transmission Companies would also construct temporary staging areas, helicopter landing

pads, offsite “laydown yards,” and “conductor pulling/handling” sites. SPF at ¶ 153. The

transmission line route includes 163 acres of access roads and 213 acres of laydown yards. SPF


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at ¶ 154. Construction equipment needed to install the line will also compact soils, including in

sensitive agricultural fields. SPF at ¶ 173.

       All of these activities will have significant long-term impacts on the environment.

Clearing out the right-of-way would destroy and fragment habitat and expose soil to wind and

water erosion, which can lead to sedimentation of nearby waterways. SPF at ¶ 161. Silty

farmland soils in the Driftless Area are particularly prone to erosion. SPF at ¶ 162. “The most

common contaminant from construction activity is the movement of sediment by stormwater into

nearby surface waters, due to ground disturbance.” SPF at ¶ 163. The Defendants acknowledge

that “[p]roject construction would affect both biological resources and vegetation communities,

such as wetlands, forests, and bluffs, through land clearing, grading, erosion and sedimentation.”

SPF at ¶ 164.

       Further, “[c]onstruction of the project would affect water resources (e.g., rivers,

floodplains) through land clearing, grading, [and] filling . . . Water bodies and floodplains would

lose some productivity in the short term from construction-related pollutants, sedimentation, and

erosion.” SPF at ¶ 164. The Defendants claim that best management practices will minimize

runoff and sedimentation, but the environmental impact statement does not include any proof of

the efficacy of these management practices. SPF at ¶ 165.

       Clearing the right-of-way would also create a new pathway for invasive plants to spread.

Clearing would “directly affect noxious weeds through soil and native vegetation disturbance.”

SPF at ¶ 166. Noxious and invasive vegetation can be spread through construction and

maintenance activities and “can relatively quickly invade disturbed or fragmented areas” and

“lead to changes in the vegetation communities.” SPF at ¶ 167; see SPF at ¶ 28.




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       Many invasive species already exist in the area of the proposed transmission line, and

therefore could easily be spread through construction and maintenance activities. SPF at ¶ 168.

In 2017, there was fieldwork done for wetland delineations and vegetation mapping. Even

though the fieldwork “did not include targeted surveys to identify all invasive species,” there

were still over two dozen invasive plant species recorded. SPF at ¶ 168 (emphasis added).

Twenty-four of those species are categorized as “restricted” under Wis. Adm. Code § NR

40.02(46), which means each species “causes or has the potential to cause economic or

environmental harm or harm to human health.” SPF at ¶ 168. One species is categorized as

“prohibited,” which means it also has the potential to “caus[e] economic or environmental harm

or harm to human health.” SPF at ¶ 168.

       Removing trees and plants near cold water trout streams will raise the stream

temperatures because the waters will no longer be shaded. SPF at ¶ 169. Clearing the right-of-

way would also impact aesthetics. “Potential impacts to visual quality and aesthetics in the

analysis area would result from . . . the establishment of new or expanded ROW through forested

areas.” SPF at ¶ 170. In particular, the clearing of the right-of-way will have immediate,

irreversible aesthetic impacts in the vicinity of the Upper Mississippi River National Wildlife

and Fish Refuge, Nelson Dewey State Park, and the Military Ridge State Trail in Wisconsin. SPF

at ¶ 171. The presence of, and noise caused by, humans and equipment during preconstruction

activities are also likely to disrupt wildlife, including bald eagles. SPF at ¶ 172.

       Many of the adverse environmental impacts will begin as soon as trees and plants cleared

or foundations are excavated, and will continue for the life of the transmission line. Once the 17-

to 20-story-high towers are constructed and the east-west high-voltage wires are strung, there




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will be even more negative impacts, including the risk that birds, especially migratory birds

using the north-south Mississippi Flyway, will fly into the line and be killed. SPF at ¶ 174.

        The Defendants acknowledge in their environmental impact statement that these impacts

will be irreversible: “anticipated potential irreversible” impacts include “destruction of wetlands

and floodplains,” “destruction of terrestrial and aquatic vegetation and wildlife habitat, including

forested areas and bluffs,” and “alteration to the viewshed by clearing land, cutting and filling,

and constructing transmission line structures.” SPF at ¶ 175–176.

III.    Impacts on Plaintiff Conservation Organizations and Their Members.

        Preconstruction and construction activities will harm Plaintiffs because their members

use and enjoy private lands and waterways, the Upper Mississippi River National Wildlife and

Fish Refuge, and other public recreation areas that would be imminently and irreparably harmed.

        For example, Dena Kurt, who is a member of both the Driftless Area Land Conservancy

(“DALC”) and Wisconsin Wildlife Federation (“WWF”), is an avid outdoor sports enthusiast

who regularly enjoys canoeing and cross-country skiing in the area of the Upper Mississippi

River National Wildlife and Fish Refuge through which the Transmission Companies would

build the CHC transmission line. SPF at ¶ 10. Preconstruction and construction activities would

impair the experience of being in a natural setting and would irreparably harm the ecosystems

and species that Ms. Kurt enjoys experiencing and viewing due to impacts like destruction and

fragmentation of habitat, erosion, and sedimentation. SPF at ¶ 12. In particular, Ms. Kurt is

concerned that clearing and maintenance of the ROW will lead to increased run-off of soil and

pollutants into the Mississippi River, with resulting sedimentation and algal blooms. SPF at ¶ 13.

Clean and clear water is important to Ms. Kurt’s enjoyment of paddling, because it allows her to

view aquatic life, such as fish and mussels, and have a more enjoyable recreational experience.

SPF at ¶ 14. Ms. Kurt is especially interested in mussels, including the federally endangered
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Higgins’ eye pearlymussel, which lives in the Mississippi River at Cassville. SPF at ¶ 14.

Sedimentation of mussel beds is considered a significant threat to the Higgins’ eye pearlymussel.

SPF at ¶ 15.

       Dan Ashe is a member of the Board of Directors of the National Wildlife Refuge

Association (“NWRA”). SPF at ¶ 64. Mr. Ashe served as the Director of the USFWS from June

2011 to January 2017, in addition to previously working in other roles at USFWS. SPF at ¶ 64.

Mr. Ashe is concerned that allowing the massive transmission line and high towers through the

Upper Mississippi River National Wildlife and Fish Refuge would set an unfortunate precedent

for allowing additional transmission lines and rights-of-way through the protected Refuges. SPF

at ¶ 65. In Mr. Ashe’s professional opinion, allowing this new right-of-way through the Refuge

would be precedent-setting because he is not aware of any similarly large new rights-of-way that

have been allowed through the National Wildlife Refuges since the USFWS’s compatibility

regulations were adopted in 2000. SPF at ¶ 66.

       Kerry Beheler, a member of WWF, worked as a Wildlife Health Specialist with the

Wisconsin Department of Natural Resources from 1991 to 2004. SPF at ¶ 55. Her personal

interests and hobbies include hiking, bird watching, upland game bird hunting, gardening, habitat

restoration, environmental education, and wildlife advocacy. SPF at ¶ 55. She uses and enjoys

the Upper Mississippi River National Wildlife Refuge, including the area near Cassville,

Wisconsin where the proposed transmission line would cross, and cares deeply about the wildlife

that lives there. SPF at ¶ 56. Vegetation clearing will destroy and fragment habitat, introduce

barriers to movement, and disturb and drive away wildlife. SPF at ¶ 57. Dredge and fill in the

Refuge wetlands will impair their ecological value, and will likely result in increased turbidity

and sedimentation in the Mississippi River, including in the essential habitat area for the



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federally endangered Higgins’ eye pearlymussel. SPF at ¶ 58. The proposed construction of the

CHC transmission line through the protected National Wildlife and Fish Refuge, including

dredge and fill in wetlands, would significantly detract from Ms. Beheler’s enjoyment of the

area. SPF at ¶¶ 58, 59.

        DALC board member Mark Mittelstadt is a professional forester who provides

ecologically-based woodland management. SPF at ¶ 23. As a volunteer, he maintains a native

prairie at the Deer Valley Golf Course, just outside of Barneveld, Wisconsin, which provides

habitat for species including the federally-listed regal fritillary butterfly and state-listed bird and

plant species. SPF at ¶ 24. The CHC transmission line would run along the north edge of the

Deer Valley Golf Course, about a quarter mile from the prairie. SPF at ¶ 25.

        Mr. Mittelstadt has actively managed this native prairie for 20 years, and he spends about

200 hours each year on the prairie. SPF at ¶ 24. Equipment used to clear and maintain the

transmission line right-of-way, however, may introduce invasive plant species, which can then

rapidly spread throughout the prairie. SPF at ¶ 26. Invasive plants are difficult to combat and, in

some cases, such as poison parsnip, can even be harmful to humans. SPF at ¶ 26. Mr. Mittelstadt

is also concerned about invasive species spreading to the prairie at the Thomas Historic Stone

Barn property, a protected conservation area, which is directly adjacent to the golf course, and on

which DALC holds a conservation easement. SPF at ¶ 28.

        Mr. Mittelstadt is also concerned that preconstruction and construction activity may

disturb a pair of bald eagles that nests along Highway 18 / US 151. SPF at ¶ 29. Mr. Mittelstadt

drives past the eagle nest regularly and often observes the nest and the eagles. SPF at ¶ 29. In

addition, Mr. Mittelstadt’s use of the Cassville ferry service would be less enjoyable if the CHC




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transmission line is constructed over the ferry’s route between Cassville, Wisconsin and the

landing in the Upper Mississippi River National Wildlife and Fish Refuge. SPF at ¶ 30.

           Brian Durtschi, another DALC member, owns over 80 acres on the east side of Mount

Horeb—a property with great scenic and recreational value with farmland, woods, Schlapbach

Creek, and wetlands. SPF at ¶ 16-17. Wildlife including deer, turkey, other birds, and small

mammals use the Schlapbach Creek and surrounding wetlands and wooded areas. SPF at ¶ 18.

Mr. Durtschi enjoys seeing wildlife on his property, and also allows friends to use his property

for hunting. SPF at ¶ 18. The planned route for the CHC transmission line would cut across his

property through cropland, wooded areas, across Schlapbach Creek and its wetlands, and then

continue over the Military Ridge State Trail. SPF at ¶ 19. Construction activities on Mr.

Durtschi’s property will include clearcutting a large swath of wooded area, destroying wildlife

habitat and clearing plants around Schlapbach Creek and its wetlands. SPF at ¶ 20. Ground-

clearing and bulldozing activities will likely cause significant erosion and sedimentation of the

creek and its wetlands, especially due to the steep topography found on the property. SPF at ¶ 21.

Moving heavy machinery through agricultural fields may cause irreversible soil compaction. SPF

at ¶ 20.

           Debora Morton is a DALC member who regularly visits, uses, and enjoys several

recreation areas that would be damaged or affected by the CHC transmission line, including the

Upper Mississippi River National Wildlife and Fish Refuge, Nelson Dewey State Park,

Wyalusing State Park, and Pikes Peak State Park. SPF at ¶ 32. Ms. Morton camps, hikes,

birdwatches, and enjoys the Mississippi River views in these protected public conservation and

recreational areas. SPF at ¶ 32. Her use and enjoyment of these areas would be diminished if the

CHC line is constructed. SPF at ¶ 33.



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       Jean Luecke is a member of Defenders of Wildlife who enjoys recreational activities

along the Mississippi River and in the area of the National Wildlife and Fish Refuge, including

boating and going on river cruises. SPF at ¶ 34. Her use and enjoyment of the area would be

diminished if the massive CHC transmission line and high towers are built and detract from the

scenic beauty of the area and negatively impact wildlife. SPF at ¶ 35.

       Todd Paddock is an NWRA member who lives two months out of the year in Winona,

Minnesota. SPF at ¶ 36. When he is in Winona, he spends a great deal of time in the Upper

Mississippi River National Wildlife and Fish Refuge, where he fishes, boats, walks, birdwatches,

picnics, swims, and cycles, among other activities. SPF at ¶ 37. He also enjoys observing

wildlife while fishing, hunting, or walking with friends. SPF at ¶ 38. Mr. Paddock has

volunteered for the Refuge’s Winona District Friends group, has introduced many others to the

Refuge, and has sought to advocate for the Upper Mississippi River National Wildlife and Fish

Refuge and the National Wildlife Refuge System more generally. SPF at ¶ 39. Mr. Paddock’s

enjoyment of the Refuge will be diminished if the CHC transmission line is built and negatively

impacts wildlife populations and detracts from the aesthetics of the area. SPF at ¶ 40.

       Mary Kritz is a DALC member who enjoys visiting the Mississippi River in the area of

the Refuge and Nelson Dewey State Park. SPF at ¶ 41. She also enjoys visiting and learning

about Native American burial mounds in the area. SPF at ¶ 42. If built, the CHC transmission

line would diminish her enjoyment of the natural areas near the Mississippi River and of burial

mounds. SPF at ¶ 43.

       Susan Anderson is a DALC member who, along with family members, owns a 280-acre

property that is along the approved route of the proposed CHC transmission line. SPF at ¶ 44.

She uses the property as a weekend home. SPF at ¶ 45. If built as an expansion and replacement



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of a much smaller transmission line across the property, the massive CHC transmission line

would diminish her enjoyment of the property. SPF at ¶ 46. It would be visible from the houses,

and she is worried that the transmission line and high towers would negatively impact the bald

eagles she enjoys watching on the property. SPF at ¶ 47. She is also concerned that construction

of the transmission line would increase erosion and run-off on her property, and that it may

disturb Native American mounds on the property. SPF at ¶ 48. Construction of the line would

also require clearing out the trees in an area of her property that is being used for sustainable

timber harvests. SPF at ¶ 49.

IV.    Procedural History

       The proposed CHC transmission line project has required a number of state and federal

permits and approvals. On the federal side, which is the subject of this litigation, the proposed

CHC transmission line has required:

           (1) Permits from the Corps to cross navigable waters, including the Mississippi River

               under Section 10 of the Rivers and Harbors Appropriation Act of 1899, 33 U.S.C.

               § 403;

           (2) Permits from the Corps under Section 404(e) of the Clean Water Act, 33 U.S.C. §

               1344(e), to discharge dredged and fill materials into “waters of the United States,”

               including the 114 protected wetlands along the entire route;

           (3) Because the proposed massive transmission line and high towers would cross a

               protected National Wildlife and Fish Refuge, the CHC transmission line also

               requires a formal determination by the Refuge manager that the project would be

               “compatible” with and “contribute to” the Refuge’s wildlife protection and

               preservation purposes (a “Compatibility Determination”) under the National

               Wildlife Refuge System Improvement Act of 1997, 16 U.S.C. § 668dd.
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                (4) The USFWS must also approve conveying a right-of-way for the transmission

                    line across the protected National Wildlife and Fish Refuge and must grant a

                    special use permit.

                (5) Because federal permits are required and one of the Transmission Companies

                    intends to seek a federal loan for the project, an environmental impact statement

                    (“EIS”) is required under NEPA, 42 U.S.C. §§ 4321 et seq. NEPA requires that

                    major federal actions, including granting permits or financial assistance to

                    projects that might have a significant impact on the environment, must be

                    preceded by an EIS that “rigorously explores and objectively evaluates all

                    reasonable alternatives,” among other NEPA requirements. 40 C.F.R. § 1502.14.

          A. Environmental Review.

           In this case, Defendant RUS, part of the U.S. Department of Agriculture, instead of one

of the environmental agencies, took the lead responsibility for preparing the EIS, apparently

because one of the Transmission Companies had expressed interest in an RUS loan.5 SPF at ¶¶ 3-

4. Defendants USFWS and the Corps, along with the U.S. Environmental Protection Agency

(EPA), participated as cooperating agencies. SPF at ¶¶ 6, 7.

           RUS invited public comments on the proper scope of the EIS in 2017 and then issued a

draft EIS on December 7, 2018. SPF at ¶¶ 67–68. Plaintiffs Driftless Area Land Conservancy

(“DALC”) and Wisconsin Wildlife Federation (“WWF”) submitted extensive written comments

on the proper scope of the EIS and then submitted extensive written comments on the draft EIS.

SPF at ¶¶ 70, 71. DALC and WWF urged RUS and the cooperating agencies to both: (1) fully

and fairly rigorously explore and objectively evaluate reasonable “non-wires” alternatives—



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    Dairyland states that it intends to seek funding from the Rural Utilities Service in 2022 or 2023. SPF at ¶ 5.

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including distributed solar energy plus energy storage, energy efficiency, demand response and

local transmission line upgrades and improvements, and other “alternative transmission

solutions” in southwest Wisconsin—that could create transmission system benefits at a lower

cost and with less adverse environmental impacts; and (2) fully and fairly rigorously explore and

objectively evaluate reasonable alternative routes that would avoid cutting a wide swath through

the protected Upper Mississippi River National Wildlife and Fish Refuge and the scenic Driftless

Area landscape, family farms, rural communities and vital natural resources. SPF at ¶ 72.

       During the scoping process, the U.S. EPA also raised concerns about the proposed route

running through the protected Upper Mississippi River National Wildlife and Fish Refuge. The

U.S. EPA recommended that alternative routes be fully considered. SPF at ¶ 69.

       DALC and WWF also specifically raised concerns by explaining that the “purpose and

need” statement in the EIS was written so impermissibly narrowly that it precluded full and fair

consideration of reasonable alternatives other than a huge high-voltage transmission line running

on essentially the proposed route between the Hickory substation near Dubuque, Iowa, then

through the Upper Mississippi River National Wildlife and Fish Refuge, and then through the

scenic Driftless Area landscape and vital natural resources to the Cardinal substation in

Middleton, Wisconsin. SPF at ¶ 73. DALC and WWF also explained that the EIS must analyze

the cumulative impacts of the CHC transmission line, along with all past, present, and reasonably

foreseeable future high-voltage transmission lines projects and other electricity infrastructure in

the relevant geographic area. SPF at ¶ 74.

       Defendant RUS did not make significant changes in response to comments, and

published the final EIS on October 23, 2019. SPF at ¶ 75. On January 16, 2020, Defendants




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RUS, USFWS, and the Corps issued a Record of Decision (ROD) approving the final EIS. SPF

at ¶¶ 76–77.

      B. USFWS’s Approval of a Right-of-Way Cutting Across and Through the
         Protected Upper Mississippi River National Wildlife and Fish Refuge.

       The proposed CHC transmission line is massive: a 345-kV high-voltage transmission line

with 20-story high towers on either side of the Mississippi River. SPF at ¶ 125. To accommodate

much wider H-style transmission towers, the proposed right-of-way would be 260 feet wide

through the Refuge, 110 feet wider than the right-of-way for the rest of the line. SPF at ¶ 127.

       From the beginning of the process, the USFWS’s Upper Mississippi River National

Wildlife and Fish Refuge managers advised the Transmission Companies to find non-Refuge

river crossing alternatives because a new huge high-voltage transmission line and high towers

could not meet the Refuge Act’s prohibition against uses that were not “compatible with” the

Refuge’s wildlife conservation purposes. As noted above, the U.S. EPA also urged that

alternative routes be considered that would avoid running through the protected Upper

Mississippi River National Wildlife and Fish Refuge. SPF at ¶ 69.

       In 2012, Tim Yager, Assistant Refuge Manager, wrote in an email that he had discussions

with ATC, one of the Transmission Companies, that “focused on the use of existing rights-of-

way and or avoidance of the Refuge as the only compatible alternatives for crossing the Refuge.”

SPF at ¶ 114. The “Cooperating Agency Kickoff Meeting Notes” from the Defendant federal

agencies’ September 21, 2016, meeting focused on the EIS for the proposed CHC transmission

line, state: “The USFWS would prefer the transmission line not to cross the Refuge; therefore, it

is important to identify the River Crossing Analysis as such since it involves alternatives not

crossing the Refuge (i.e., City of Dubuque).” SPF at ¶ 115.




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       On December 19, 2019, however, Defendant Sabrina Chandler, the Manager of the Upper

Mississippi River National Wildlife and Fish Refuge, issued a document called a “Compatibility

Determination.” SPF at ¶ 116. This document did not find that the CHC transmission line,

towers, and 260-foot clear-cut right-of-way are compatible with the Refuge’s wildlife purpose,

but instead concluded that the massive transmission line could be grandfathered in as “a minor

realignment of an existing right-of-way to meet safety standards” because the Transmission

Companies had agreed to take down two older, smaller, low-voltage transmission lines that

crossed the Refuge and the Mississippi River about a mile downstream and to revegetate their

narrower right-of-way. SPF at ¶¶ 117-119, 122. The USFWS Regional Director concurred with

the determination the day after it was issued. SPF at ¶ 116. On or about September 8, 2020,

USFWS granted a right-of-way authorization and special use permit, based on the

“Compatibility Determination,” for the CHC transmission line to cross the Upper Mississippi

River National Wildlife and Fish Refuge. SPF at ¶ 120. Only after the Plaintiffs filed their

lawsuit and just a week before these cross-motions for summary judgments and accompanying

briefs were due to be filed, the Defendants notified Plaintiffs and this Court that the USFWS’s

authorization and permit were changing, however, as explained in Section D below.

      C. U.S. Army Corps of Engineers’ Use of Only “General” Permits.

       The Transmission Companies did not seek, and therefore the Corps did not conduct, the

analysis required to issue an “individual” permit for the CHC transmission line under Section

404 of the Clean Water Act, 33 U.S.C. § 1344. Instead, the Corps District Engineers in Rock

Island and St. Paul “verified” that the project came within their definition of a “utility line,” and

relied only on so-called “general” permits: “Nationwide Permit 12” in Iowa for the Rock Island

District and the St. Paul District’s “Utility Regional General Permit” in Wisconsin. SPF at ¶ 78.



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The Corps had most recently reauthorized Nationwide Permit 12 in 2017, and the St. Paul’s

Utility Regional General Permit had been readopted in 2018. SPF at ¶¶ 185–186. Neither general

permit was preceded by an EIS or a programmatic consultation with USFWS under Section 7 of

the Endangered Species Act. SPF at ¶¶ 187–191.

      D. New Developments Following Plaintiffs’ Filing of This Lawsuit.

       Plaintiffs filed their Complaint challenging the Defendants’ flawed “Compatibility

Determination” and NEPA review on February 10, 2021. Case No. 21-cv-00096, Dkt. 1.

Plaintiffs filed a separate Complaint on May 5, 2021 challenging the Corps’ permitting

decisions, and the two cases were consolidated. Case No. 21-cv-00306, Dkt. 1, 22; Case No. 21-

cv-00096, Dkt. 48. After Plaintiffs filed the Complaints in these consolidated cases, the

Transmission Companies first submitted a modified application to Defendant USFWS seeking

approval for the CHC transmission line, towers, and 260-foot right-of-way to enter the protected

National Wildlife and Fish Refuge at a slightly different location, apparently to avoid burial

mounds. SPF at ¶ 132.

       In June, 2021, Defendant RUS issued a draft Environmental Assessment (“EA”)

examining the impacts of the Transmission Companies’ requested route modifications. SPF at ¶

133. The EA concluded that the route modifications do not result in significant changed

circumstances or new impacts, meaning that RUS does not intend to prepare a full EIS. SPF at ¶

134. The EA states that USFWS may, “[i]f determined appropriate,” issue an “amended”

Compatibility Determination for the modified route through the Refuge, but the USFWS has not

committed to doing so. SPF at ¶ 135. The EA also states that Defendant USFWS “would need to

issue an amended [ROW] permit” and that the “Special Use Permit may need to be amended.”

SPF at ¶ 135.



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          In July 2021, the Transmission Companies proposed to USFWS that their right-of-way

across the National Wildlife and Fish Refuge be converted from an easement grant to a land

exchange, which they claimed would somehow not be subject to the Refuge Act’s compatibility

requirements. SPF at ¶ 136. No land exchange has since been approved or completed. SPF at ¶

137. Defendants have moved to stay this litigation until after the land exchange option is fully

evaluated, and that motion is currently pending before the Court. Case No. 21-cv-00096, Dkt. 49,

50, 54, 60.6

          On August 27, 2021, shortly before the cross-motions for summary judgment and briefs

were due to be filed on September 3, 2021, the Defendant USFWS informed the Plaintiffs and

this Court that it was reversing course, withdrawing its previous “Compatibility Determination”

and right-of-way permit in order to pursue the land exchange. SPF at ¶ 138. USFWS stated that it

had discovered a flaw in its review of the existing transmission line easement documents during

the Service’s issuance of the “Compatibility Determination,” and that the proposed land

exchange would obviate those problems as well. SPF at ¶ 138.


                                                 ARGUMENT

    I.         STANDARD OF REVIEW

          This matter comes before the Court on cross motions for summary judgment, which is

appropriate if “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. Pro. 56(a). Judicial review of federal agency actions



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  The Transmission Companies also say that they do not intend to rely on the verifications that Nationwide Permit
12 applies to the portion of the line running through the Refuge, but someday will apply for verifications under the
renumbered Nationwide Permit 57 or maybe seek an individual permit for that section. SPF at ¶ 194. Earlier this
year, the Corps divided NWP 12 into three—one for oil and hazardous liquid pipelines, one for electric transmission
lines (NWP 57), and one for water or other similar lines. See infra note 33. There are no substantive differences.
There is also no indication that the Transmission Companies intend to stop “relying on” the Utility Regional General
Permit in Wisconsin.

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under the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701–706, however, is conducted

on the basis of the administrative record compiled in the agency proceedings, and will, in

virtually every case, be resolved “as a matter of law.” As the Seventh Circuit has explained:

       When a party moves for summary judgment in such a judicial-review proceeding,
       he does not implicitly reserve a right to a trial if the motion is denied; there is no
       right to a trial in a review proceeding, as contrasted with an original proceeding.
       The motion for summary judgment is simply the procedural vehicle for asking the
       judge to decide the case on the basis of the administrative record.

Hunger v. Leininger, 15 F.3d 664, 669 (7th Cir. 1994). “In an Administrative Procedure Act

Case, summary judgment ‘serves as the mechanism for deciding, as a matter of law, whether the

agency action is supported by the administrative record and otherwise consistent with the APA

standard of review.’” Navajo Nation v. Azar, 302 F.Supp.3d 429, 435 (D.D.C. 2018) (quoting

Sierra Club v. Mainella, 459 F.Supp.2d 76, 90 (D.D.C. 2006)).

       Under the APA standard of review, courts are obligated to “hold unlawful and set aside

agency action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse of

discretion, or otherwise not accordance with law.” 5 U.S.C. § 706(2). Although a reviewing court

may not simply “substitute its judgment for that of the agency…[t]hat does not mean the review

is toothless.” Orchard Hill Bldg. Co. v. United States Army Corps of Eng’rs, 893 F.3d 1017,

1024 (7th Cir. 2018) (internal quotation marks and citations omitted). “The Supreme Court has

instructed that the ‘APA requires meaningful review,’” and the court “should not attempt itself to

make up for . . . deficiencies in an agency’s reasoning, nor supply a reasoned basis for the

agency’s action that the agency itself has not given.” Id. (internal quotation marks and citations

omitted). Moreover, questions of law are for courts to decide. Reviewing courts owe no

deference to agency interpretations of the law, except under limited circumstances that do not

apply to this case. See generally Kisor v. Wilkie, 139 S. Ct. 2400 (2019).



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       In this case, the Court should grant summary judgment for Plaintiffs on all claims

because the uncontested facts in the record establish that:

       1.      Defendant Rural Utilities Service’s environmental impact statement for the

proposed CHC transmission line violates NEPA’s requirements and the Council on

Environmental Quality’s applicable environmental review rules for multiple reasons: (a)

impermissibly defining the “purpose and need” for this project so overly narrowly that it

predetermined the outcome and precluded full and fair consideration of reasonable alternatives

that are less environmentally damaging and more cost-effective, see Simmons, 120 F.3d 664; (b)

failing to “rigorously explore and objectively evaluate all reasonable alternatives,” including

non-wires alternatives, that are less environmentally damaging and more cost-effective (40

C.F.R. § 1502.14); (c) failing to “rigorously explore and objectively evaluate” alternative

transmission line routes that would avoid running through the protected Upper Mississippi River

National Wildlife and Fish Refuge (40 C.F.R. § 1502.14); (d) failing in any way to assess the

cumulative environmental impacts of the proposed CHC transmission line—“the incremental

impact of the action when added to other past, present, and reasonably foreseeable future

actions” (40 C.F.R. § 1508.7)—together with all other transmission lines and development

projects including, but not limited to, the recent past CapX2020 and Badger-Coulee high-voltage

transmission lines, and reasonably foreseeable future high-voltage transmission lines built in or

proposed for this geographic region, see, e.g., Habitat I, 363 F. Supp. 2d at 1078–83; and (e)

failing to adequately analyze the climate change impacts of the construction and operation of the

CHC transmission line, including the fossil-fuel electricity generation that it will carry.

       2.      Defendants USFWS, Wooley, and Chandler violated the National Wildlife

Refuge System Improvement Act, 16 U.S.C. §§ 668dd-668ee (“the Refuge Act”) by conveying a



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right-of-way allowing the massive CHC transmission line with 20-story high towers to run

through the protected Upper Mississippi River National Wildlife and Fish Refuge. The Refuge

Act flatly prohibits any private economic use of a National Wildlife Refuge that is not

“compatible with” and does not “contribute to” the Refuge’s conservation purposes. Whether the

approval is structured as an easement grant, as originally approved by USFWS, or as a land

exchange, as the Transmission Companies now propose, the consequences are the same, and

both violate the Refuge Act.

      3. The Defendant Corps illegally authorized the discharges of dredged and fill materials into

“waters of the United States.” Instead of completing an “individual” permit review, the Corps

chose to use its illegally authorized nationwide and regional “utility line” general permits for this

massive high-voltage transmission line. Section 404(e) of the Clean Water Act, 33 U.S.C. §

1344(e) only allows general permits for projects and project categories that separately and

cumulatively will have no more than “minimal” adverse effects on the environment. The general

permits also violate NEPA, because they were not preceded by an environmental impact

statement, and violate Section 7 of the Endangered Species Act, 16 U.S.C. § 1536(a)(2), because

they were issued without the required programmatic consultation. The Corps abused its

discretion by applying these invalid permits to the CHC transmission line project.

II.      PLAINTIFFS HAVE STANDING

         In order to establish Article III standing, Plaintiffs must demonstrate (1) an injury in-fact,

(2) that is fairly traceable to the challenged conduct, and (3) seek a remedy that is likely to

prevent or redress the injury. Uzuegbunam v. Preczewski, 141 S. Ct. 792, 797 (2021). An

organization has standing to sue on behalf of its members when “(a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane

to the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires
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the participation of individual members in the lawsuit.” Hunt v. Washington State Apple Advert.

Comm’n, 432 U.S. 333, 343 (1977).

        Plaintiffs’ members in this case would have standing to sue in their own right because, as

explained in the Statement of Facts and Procedural History, above, they will suffer imminent,

irreparable injury caused by the CHC transmission line’s construction and preconstruction

activities. As the ten member declarations included with this brief7 demonstrate, Plaintiffs’

members include people who own property that would be taken to build the line, and whose use

and enjoyment of their property and their property’s economic value will be impacted by the

line’s construction. SPF at ¶¶ 18, 16–22, 44–49. Plaintiffs also have members who use and enjoy

the Upper Mississippi River National Wildlife and Fish Refuge and natural areas in the Driftless

Area along the line’s route, and their enjoyment of those areas would be diminished by the

transmission line and 17- to 20-story-high towers. SPF at ¶¶ 9–49, 54-59, 61, 63. This

diminished enjoyment constitutes an injury sufficient to establish standing. Indiana Forest All.,

Inc. v. U.S. Forest Serv., 325 F.3d 851, 855 n.4 (7th Cir. 2003) (finding that allegations that

plaintiff’s members used a National Forest “for hiking, camping and birding are sufficient to

establish standing” to bring a suit under NEPA and National Forest Management Act). The

Supreme Court has “held that environmental plaintiffs adequately allege injury in fact when they

aver that they use the affected area and are persons ‘for whom the aesthetic and recreational

values of the area will be lessened’ by the challenged activity.” Friends of the Earth, Inc. v.

Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 183 (2000) (quoting Sierra Club v. Morton, 405

U.S. 727, 735 (1972)). Plaintiffs’ members also enjoy viewing native animal and plant species

that would be harmed by construction of the line. SPF at ¶ 11-14, 18-20, 24-29, 35, 40, 45, 55-


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 See attached Declarations of Dena Kurt, Brian Durtschi, Daniel Ashe, Debora Morton, Jean Luecke, Kerry
Beheler, Mary M. Kritz, Mark Mittelstadt, Susan Anderson, and Todd Paddington.

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59. Lujan v. Defenders of Wildlife, 504 U.S. 555, 562–563 (1992) (“Of course, the desire to use

or observe an animal species, even for purely esthetic purposes, is undeniably a cognizable

interest for purposes of standing.”).

       Because construction of the line has already begun on the Iowa side and is planned to

begin in Wisconsin in October 2021, SPF at ¶¶ 155, 156, these concrete and particularized harms

are not speculative, but are imminent injuries in fact. Friends of the Earth, Inc., 528 U.S. at 181–

84; Am. Bottom Conservancy v. U.S. Army Corps of Eng’rs, 650 F.3d 652, 658 (7th Cir. 2011).

These imminent injuries in fact are fairly traceable to the Defendants’ conduct because the line

cannot be built through the protected Upper Mississippi River National Wildlife and Fish Refuge

and through Wisconsin’s scenic Driftless Area landscape without Defendant USFWS’s

approvals. The transmission line cannot be built without valid Clean Water Act Section 404

permits issue by the Corps. This transmission line also cannot receive any federal funding,

federal permits, or other federal approvals unless the environmental impact statement complies

with all NEPA requirements.

       A favorable decision from this court would redress Plaintiffs’ members’ injuries. First, if

the Defendant RUS’s Record of Decision approving the legally flawed EIS is vacated and

remanded, the federal agencies would have to redo the EIS process in compliance with NEPA.

Caselaw is clear that remanding for an agency to redo a NEPA analysis in compliance with the

law provides redress for injuries stemming from environmental harms because, even though

there is no guarantee the agency would come to a different decision on the merits, an agency

could decide differently after completing a proper NEPA analysis. Defenders of Wildlife, 504

U.S. at 572 n.7; American Rivers v. Fed. Energy Reg. Comm’n, 895 F.3d 32, 42 (D.C. Cir. 2018)

(finding the redressability prong of standing met because “[r]equiring the Commission to prepare



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an Environmental Impact Statement might cause the Commission to gather more information

that could improve the conditions in the license and the conditions of the Coosa River”).

        Second, if the USFWS decision granting a right-of-way permit through the Refuge is

vacated and remanded, then the Transmission Companies would not construct the line through

the Refuge.

        Third, if the Plaintiffs prevail on their claims against the Corps, the agency would have to

issue new, valid individual Clean Water Act Section 404 permits before the project could be

built. That would require a much more thorough review of whether the project’s adverse

environmental impacts will be more than “minimal,” whether the project could result in

“significant degradation” of water resources, and whether the project is genuinely in the public

interest.

        Plaintiffs seek to protect interests that are germane to their organizational purposes.

Germaneness requires only “mere pertinence between litigation subject and organizational

purpose.” Humane Soc. of the U.S. v. Hodel, 840 F.2d 45, 58–60 (D.C. Cir. 1988) (organization

granted standing to challenge increase in hunting in National Wildlife Refuges); see also

Gunpowder Riverkeeper v. FERC, 807 F.3d 267, 272 (D.C. Cir. 2015) (environmental

organization’s allegations of NEPA violations were germane to its purpose of preserving river

watershed). Plaintiffs easily meet that legal test. Plaintiff National Wildlife Refuge Association is

a not-for-profit organization focused exclusively on protecting and promoting the 850 million-

acre National Wildlife Refuge System. SPF at ¶ 62. Plaintiff Driftless Area Land Conservancy is

a land trust and conservation organization that seeks to protect scenic landscapes, historic

properties, and natural resources in Wisconsin’s Driftless Area. SPF at ¶ 8. Plaintiff Wisconsin

Wildlife Federation is dedicated to protecting wildlife habitat, conservation lands and waters, and



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natural resources throughout the State of Wisconsin on behalf of the hunters, anglers, trappers,

and other individuals who are its members. SPF at ¶ 53. Plaintiff Defenders of Wildlife is

dedicated to conserving species and the habitat upon which they depend. SPF at ¶ 60.

         The relief requested by Plaintiffs will apply across the board, benefiting each individual

member without requiring their individual participation. Hunt, 432 U.S. at 343; see also Warth v.

Seldin, 422 U.S. 490, 515 (1975).

         Plaintiffs therefore meet all of the requirements for associational standing.

         The Plaintiffs have also suffered and continue to suffer their own procedural injury8

because of the Defendants’ violations of NEPA. Courts have recognized that “the failure to

comply with NEPA’s requirements causes harm itself.” Sierra Club v. U.S. Army Corps of

Engineers, 645 F.3d 978, 995 (8th Cir. 2011); Richland/Wilkin Joint Powers Auth. v. U. S. Army

Corps of Engineers, 826 F.3d 1030, 1037 (8th Cir. 2016). See also, United States v. Coal. for

Buzzards Bay, 644 F.3d 26, 31 (1st Cir. 2011) (“It follows inexorably that ‘when a decision to

which NEPA obligations attach is made without the informed environmental consideration that

NEPA requires, the harm that NEPA intends to prevent has been suffered.’”) (quoting

Massachusetts v. Watt, 716 F.2d 946, 952 (1st Cir. 1983)).

         Construction of the CHC transmission line would also irreparably harm the direct

interests of Driftless Area Land Conservancy, which owns a conservation easement on the

historic Thomas Stone Barn property located on Highway 18 / US 151 west of Barneveld,

Wisconsin. SPF at ¶ 50. That easement, among other things, protects “scenic vistas.” SPF at ¶




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  While some courts have described this as a “procedural” injury, others have instead acknowledged the same injury,
but characterized it differently: “[T]he harm at stake is a harm to the environment, but the harm consists of the added
risk to the environment that takes place when governmental decisionmakers make up their minds without having
before them an analysis (with prior public comment) of the likely effects of their decision upon the environment.”
Sierra Club v. Marsh, 872 F.2d 497, 500 (1st Cir. 1989).

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51. The CHC transmission line would be built along that highway, and the easement includes

property on both the north and south sides of the highway. SPF at ¶ 50. Construction of the

transmission line would interfere with this conservation easement, and irreparably impair its

ecological, aesthetic, scenic, and cultural value. SPF at ¶ 52. Even if the transmission line were

re-routed to be within the adjacent highway right-of-way rather than directly across the

easement, it would still negatively affect the conservation easement. SPF at ¶ 52.

        Construction of the proposed CHC transmission line will therefore cause injuries-in-fact

both to the Plaintiff organizations directly and to their members, and vacating the federal

approvals in this case will give Plaintiffs meaningful relief. All Article III standing requirements

have been met.

III.    THE ENVIRONMENTAL IMPACT STATEMENT FOR THE CHC
        TRANSMISSION LINE DID NOT MEET THE REQUIREMENTS OF THE
        NATIONAL ENVIRONMENTAL POLICY ACT (NEPA).

        The Environmental Impact Statement violates NEPA’s requirements in numerous ways:

(1) the EIS’s unduly constricted purpose and need statement is impermissibly narrow and

predetermines the outcome, see Simmons, 120 F.3d 664; (2) the EIS fails to “rigorously explore

and objectively evaluate all reasonable alternatives,” including non-wires alternatives, to the

proposed transmission line (40 CFR § 1502.149); (3) the EIS fails to “rigorously explore and

objectively evaluate all reasonable alternatives,” including alternative routes that would avoid

cutting a wide swath across the Upper Mississippi River National Wildlife and Fish Refuge and

scenic Driftless Area landscape and vital natural resources (40 CFR § 1502.14); (4) the EIS fails

to assess the cumulative environmental impacts of the proposed CHC transmission line—“the



9
  Unless otherwise noted, all references to 40 C.F.R. parts 1500 to 1508 (the CEQ regulations implementing NEPA)
are to the 2019 version of the regulations, which were controlling at the time the environmental review for the CHC
line was completed.

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incremental impact of the action when added to other past, present, and reasonably foreseeable

future actions”—together with all other transmission lines and development projects (40 C.F.R. §

1508.7); and (5) the Defendants’ EIS fails to adequately analyze climate change impacts.

Because of these failures, the Defendants’ Record of Decision finding that the EIS complied with

NEPA was “arbitrary, capricious, an abuse of discretion, [and] otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A).

      A. Requirements for Environmental Impact Statements under the National
         Environmental Policy Act and CEQ’s Applicable Environmental Review
         Regulations.

       The National Environmental Policy Act (“NEPA”) is our nation’s foundational

environmental law. NEPA requires that “all agencies of the Federal Government shall ... include

in every recommendation or report on proposals for legislation and other major Federal actions

significantly affecting the quality of the human environment, a detailed statement by the

responsible official on” the proposed action’s “environmental impact.” 42 U.S.C. § 4332. An

agency’s EIS must include discussion of environmental impacts, unavoidable adverse effects,

alternatives to the proposed action, the relationship between short-term uses of the environment

and long-term productivity, and any irreversible and irretrievable commitments of resources. 42

U.S.C. § 4332.

       The Council on Environmental Quality (“CEQ”) has issued comprehensive regulations

that govern environmental reviews by all federal agencies. An EIS must contain a statement of

“purpose and need,” which is required to “specify the underlying purpose and need to which the

agency is responding in proposing the alternatives including the proposed action.” 40 C.F.R.

§ 1502.13. CEQ’s regulations emphasize that the alternatives analysis is the “heart of the

environmental impact statement,” and requires agencies to “[r]igorously explore and objectively



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evaluate all reasonable alternatives,” including a “no action” alternative. 40 C.F.R. § 1502.14.

An EIS must “[d]evote substantial treatment to each alternative considered in detail including the

proposed action so that reviewers may evaluate their comparative merits.” 40 C.F.R.

§ 1502.14(b).

       An EIS must also analyze cumulative impacts in relation to the proposed project and the

relevant geographical area. 40 C.F.R. § 1508.25. Cumulative impacts are “the impact on the

environment which results from the incremental impact of the action when added to other past,

present, and reasonably foreseeable future actions regardless of what agency (Federal or non-

Federal) or person undertakes such other actions.” Id. § 1508.7.

       RUS’s own environmental review regulations also state that RUS “is responsible for all

environmental decisions and findings related to its actions” and must “independently evaluate”

all environmental information submitted by applicants. 7 C.F.R. § 1970.5(a).

      B. The Defendants’ EIS Improperly Adopted the Transmission Companies’ Unduly
         Constricting and Impermissibly Narrow Purpose and Need Statement, Contrary
         to NEPA’s Requirements as the Seventh Circuit Held in Simmons.

       RUS erred as a matter of law from the outset by accepting the impermissibly and unduly

constricting and narrow “purpose and need statement” urged by the Transmission Companies for

what should be an independent NEPA environmental analysis. SPF at ¶ 80. The CEQ rules

require that every environmental impact statement “briefly specify the underlying purpose and

need to which the agency is responding in proposing the alternatives including the proposed

action.” 40 C.F.R. §1502.13. The purpose and need statement frames the problem that needs to

be solved and therefore defines the range of reasonable possible alternatives that must be

“rigorously explore[d] and objectively evaluate[d].” 40 C.F.R. § 1502.14. An unreasonably




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narrow purpose and need statement constricts the range of alternatives analyzed, and undermines

the agencies’ ability to conduct an EIS that meets NEPA’s requirements.

       As the Seventh Circuit has explained:

       When a federal agency prepares an Environmental Impact Statement (EIS), it must
       consider “all reasonable alternatives” in depth. 40 C.F.R. § 1502.14. No decision is
       more important than delimiting what these “reasonable alternatives” are. That
       choice, and the ensuing analysis, forms “the heart of the environmental impact
       statement.” 40 C.F.R. § 1502.14. To make that decision, the first thing an agency
       must define is the project's purpose. See Citizens Against Burlington, Inc. v. Busey,
       938 F.2d 190, 195–96 (D.C.Cir.1991). The broader the purpose, the wider the range
       of alternatives; and vice versa. The “purpose” of a project is a slippery concept,
       susceptible of no hard-and-fast definition. One obvious way for an agency to slip
       past the strictures of NEPA is to contrive a purpose so slender as to define
       competing “reasonable alternatives” out of consideration (and even out of
       existence). The federal courts cannot condone an agency’s frustration of
       Congressional will. If the agency constricts the definition of the project’s purpose
       and thereby excludes what truly are reasonable alternatives, the EIS cannot fulfill
       its role. Nor can the agency satisfy the Act.

Simmons, 120 F.3d at 666.

       The agency cannot in this way skew the analysis and results, and predetermine the

outcome. In Simmons, as in this case, the federal agency simply accepted the project proponents’

stated project purpose, which was to supply water for the City of Marion, Illinois and a nearby

Water District from a single source. The court held that this impermissibly narrowed the scope of

alternatives to the new lake that the project proponent wished to create by damming a creek. Id.

at 667. The court recognized that the fact that the City of Marion and the Water District had a

common problem—a need for water—in no way required a solution that would provide both

with water from a single source. Id. The Corps’ rejection of alternatives on the grounds that they

would supply Marion and the Water District from separate sources was therefore arbitrary and

capricious. Id. See also Van Abbema v. Fornell, 807 F.2d 633, 638 (7th Cir. 1986) (“[T]he

evaluation of ‘alternatives’ mandated by NEPA is to be an evaluation of alternative means to



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accomplish the general goal of an action; it is not an evaluation of the alternative means by

which a particular applicant can reach his goals.”) (emphasis in original).

       Other courts have similarly held. See, e.g., National Parks & Conservation Association v.

Bureau of Land Management, 606 F.3d 1058, 1072 (9th Cir. 2010) (an agency may not “adopt[]

private interests to draft a narrow purpose and need statement that excludes alternatives that fail

to meet specific private objectives”). In fact, in a somewhat factually analogous case, a district

court in the Ninth Circuit held that the Department of Energy violated NEPA in its EIS for a new

transmission line that would carry power from a wind farm in Mexico into the United States.

Backcountry Against Dumps v. Chu, 215 F. Supp. 3d 966, 979 (S.D. Cal. 2015), modified on

reconsideration sub nom. Backcountry Against Dumps v. United States Dep’t of Energy, No.

3:12-CV-03062-L-JLB, 2017 WL 2988273 (S.D. Cal. Jan. 30, 2017). The court explained that

“the purpose and need statement is too narrowly drawn and focused almost exclusively on

private interests.” Id. at 978. That overly narrow purpose and need was then used to foreclose the

consideration of an alternative of building distributed generation—solar panels in urban areas—

instead of the new transmission line. Id. at 978.

       The Seventh Circuit continues to follow the approach set out in Simmons. In

Environmental Law & Policy Center v. U.S. Nuclear Regulatory Commission, 470 F.3d 676, 683

(7th Cir. 2006), the Seventh Circuit cited to Simmons:

       We have held that blindly adopting the applicant's goals is “a losing proposition”
       because it does not allow for the full consideration of alternatives required by
       NEPA. [Simmons, 120 F.3d] at 669. NEPA requires an agency to “exercise a degree
       of skepticism in dealing with self-serving statements from a prime beneficiary of
       the project” and to look at the general goal of the project rather than only those
       alternatives by which a particular applicant can reach its own specific goals. Id.

While the Seventh Circuit upheld the Nuclear Regulatory Commission’s decision to use the same

purpose as proposed by the private applicant, that purpose—baseload energy generation—was


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much broader than the applicant’s goal of building a new nuclear plant. Notably, the purpose

was “was broad enough to permit consideration of a host of energy generating alternatives.” Id.

at 684.

          And while the court excused the Commission’s failure to carefully consider energy

efficiency as an alternative, this was based on facts not found in the current case. First, the court

explained that the private applicant “was in no position to implement such measures.” Id. at 684.

In contrast, ATC, one of the Transmission Companies proposing the CHC transmission line, is

already itself pursuing non-wires alternatives. ATC’s online blog describes a planned battery

storage project that “is less expensive than an alternative to rebuild a transmission line in the

area” and “would increase area transmission reliability and operational flexibility.” SPF at ¶ 88.

          Second, the court in Environmental Law & Policy Center explained that energy

efficiency would in fact be considered later as part of the upcoming “need for power” analysis,

which under Commission regulations, could be postponed until a later licensing proceeding. 470

F.3d at 684. So, the broader alternatives analysis would be done in the next, second phase of the

EIS and permit (licensing) approval process.

          Not so in the present CHC transmission line case. The Defendant federal agencies’ EIS

and Record of Decision is the first and only NEPA environmental review process. There is no

next, second evaluation or proceeding—all NEPA requirements must already be met.

          As in Simmons, “[w]e are confronted here with an example of this defining-away of

alternatives.” 120 F.3d at 666. As in Simmons, Plaintiffs contend that the RUS and “[t]he Corps

rigged the environmental impact statement on the question of purpose…”. Id. at 669. As in

Simmons:

          An agency cannot restrict its analysis to those “alternative means by which a
          particular applicant can reach his goals.” Van Abbema, 807 F.2d at 638 (emphasis

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        added); contra, Busey, 938 F.2d at 198–99. This is precisely what the Corps did in
        this case. The Corps has “the duty under NEPA to exercise a degree of skepticism
        in dealing with self-serving statements from a prime beneficiary of the project.”
        Busey, 938 F.2d at 209 (Buckley, J., dissenting). And that is exactly what the Corps
        has not shown in its wholesale acceptance of Marion’s definition of purpose.

Id. at 669.

        Finally, as in Simmons: “If NEPA mandates anything, it mandates this: a federal agency

cannot ram through a project before first weighing the pros and cons of the alternatives. … [T]he

Army Corps of Engineers executed an end-run around NEPA’s core requirement. By focusing on

the single-source idea, the Corps never looked at an entire category of reasonable alternatives

and thereby ruined its environmental impact statement.” Id. at 670.

        Here, Defendants RUS and the other cooperating federal agencies (the Corps and

USFWS) likewise adopted the Transmission Companies’ desired, self-limiting purpose and need.

SPF at ¶ 80. The Defendant federal agencies thus predetermined the outcome and unduly

constricted the range of reasonable alternatives that they must independently consider. The EIS’s

purpose and need statement includes six elements:

                 Address reliability issues on the regional bulk transmission system and ensure a
                  stable and continuous supply of electricity is available to be delivered where it is
                  needed even when facilities (e.g., transmission lines or generation resources) are
                  out of service;

                 Alleviate congestion that occurs in certain parts of the transmission system and
                  thereby remove constraints that limit the delivery of power from where it is
                  generated to where it is needed to satisfy end-user demand;

                 Expand the access of the transmission system to additional resources, including 1)
                  lower-cost generation from a larger and more competitive market that would
                  reduce the overall cost of delivering electricity, and 2) renewable energy
                  generation needed to meet state renewable portfolio standards and support the
                  nation’s changing electricity mix;

                 Increase the transfer capability of the electrical system between Iowa and
                  Wisconsin;



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                    Reduce the losses in transferring power and increase the efficiency of the
                     transmission system and thereby allow electricity to be moved across the grid and
                     delivered to end-users more cost-effectively; and

                    Respond to public policy objectives aimed at enhancing the nation’s transmission
                     system and to support the changing generation mix by gaining access to additional
                     resources such as renewable energy or natural gas-fired generation facilities.

SPF at ¶ 81. These purposes, especially the fourth “purpose,” are improperly narrow and

constricting. Only new “bulk power” high-voltage transmission lines between Iowa and

Wisconsin, can meet that so-called purpose and need.

            Indeed, “[i]ncreas[ing] the transfer capability of the electrical system between Iowa and

Wisconsin” by means of a massive high-voltage transmission line is a specific way to meet the

other elements of the purpose and need statement. It is a “means” rather than an “end,” and is

simply a description of the exact project that the CHC transmission line developers want to build.

Some of the other elements of the purpose and need statement, to the extent they are true needs,10

can be equally and better addressed with non-wires alternatives.

            There are many other solutions and technologies that can offer the same benefits to the

transmission system as building a massive new line (and can do it with less environmental

damage, and likely cheaper and faster). SPF at ¶ 85. These include upgrading existing lines,

employing high tech power management, deploying distributed solar energy and other renewable

energy generation nearer to where it’s needed, and using well-known and ubiquitous energy

efficiency and demand management strategies approaches, if needed, to hold down peak demand

that can stress the grid. SPF at ¶ 85. RUS did not fully and fairly consider non-wires alternatives

because they did not serve the constricting purpose to increase the overall transfer capacity




10
     Plaintiffs do not concede that they are.

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between Iowa and Wisconsin, which skewed and predetermined the outcome of a massive high-

voltage transmission line.

         In a chart comparing non-wires alternatives, RUS indicated that of renewable generation,

energy storage, energy efficiency, and demand response, none could increase the Iowa-

Wisconsin transfer capacity. SPF at ¶ 82. The final EIS actually acknowledges just a few pages

later that energy storage “could increase electricity transfer capability,” but claims it would not

be technically feasible to deploy battery storage at a level that would meet the project needs. SPF

at ¶ 83. Because one element of the purpose and need was defined as increasing transfer capacity

between Iowa and Wisconsin, RUS also did not consider the option of building a new

transmission line on a route that avoids cutting through the heart of the Refuge and the Driftless

Area (such as the route for the proposed SOO Green Line transmission line11). SPF at ¶ 89, 90,

91. Instead, RUS looked only at minor tweaks to the route proposed by the Transmission

Companies.

         Put simply, RUS rejected non-wires alternatives and other alternative transmission

solutions because they were not a new high-voltage transmission line, as a result of the

impermissibly narrow and constricting purpose and need statement adopted by the Defendants at

the outset at the behest of the Transmission Companies. The circumscribed purpose and need

also precluded consideration of other routing options that would avoid the Upper Mississippi

River National Wildlife and Fish Refuge and the scenic Driftless Area landscape and vital

natural resources. For the reasons explained above, the Defendants unduly narrow and



11
  Plaintiffs DALC and WWF specifically commented on the Draft EIS that the agencies should consider other route
options, such as those proposed for the SOO Green Renewable Rail project, an underground transmission line
primarily utilizing existing railroad rights-of-way, which would run from Mason City, Iowa to just outside Chicago.
Plaintiffs noted that even if the specific SOO Green project was not built, this and similar proposals show that there
are alternative corridors and routes for moving power from west to east that would avoid significant adverse
environmental impacts on the special scenic Driftless Area landscape and unique natural resources. SPF at ¶ 91.

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constricted analysis is arbitrary and capricious and violates NEPA. Simmons, 120 F.3d 664; 40

C.F.R. §§1502.13, 1502.14.

      C. The Defendants’ EIS Did Not Rigorously Explore and Objectively Evaluate All
         Reasonable Alternatives as NEPA Requires.

       The Defendants’ constricted consideration of alternatives in the EIS violates NEPA in

two ways. First, because of the impermissibly constricted purpose and need statement, the range

of alternatives considered is improperly narrow. Second, to the extent RUS considered non-wires

alternatives and alternative transmission solutions at all—options for improving the grid system,

such as by increasing distributed local renewable energy generation, energy storage technologies,

energy efficiency and demand response, efficiency upgrades to and new power line technologies

for the existing transmission and distribution lines—RUS compounded its error by considering

only individual measures in isolation, rather than considering realistic “packages” of these

solutions. SPF at ¶ 84. The Defendants’ final EIS is therefore impermissibly skewed and does

not rigorously explore and objectively evaluate these alternatives and solutions that can

realistically achieve the project’s broader purpose and perceived need.

       Many non-wires options work best in combination, such as solar with battery storage.

SPF at ¶ 87. In testimony submitted in the Public Service Commission of Wisconsin’s

proceeding on state approvals for the CHC transmission line, engineer and solar and energy

storage expert Kerinia Cusick explained, “The Applicants failed to evaluate proven, non-wires

based solutions such as power electronics, energy storage, solar, and load control, and energy

efficiency and demand response approaches in effective combinations to augment the

performance of the existing transmission infrastructure, thereby potentially meeting the

transmission need more effectively and efficiently.” SPF at ¶ 86.




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       The Defendant RUS’s failure to rigorously explore and objectively evaluate reasonable

packages of non-wires options and alternatives combining non-wires options with local system

upgrades set up their strawperson alternatives to fail when it comes to fully and fairly

considering “all reasonable alternatives,” which is the heart of the NEPA environmental review

process. Combinations of non-wires alternatives can take pressure off existing transmission

capacity, and thereby address reliability, congestion, and access concerns just as well as or better

than old-fashioned “big wires” projects. SPF at ¶ 85. RUS refused to consider any such

combinations. SPF at ¶ 84.

       In Simmons, the Seventh Circuit found that “[b]y focusing on the single-source idea, the

Corps never looked at an entire category of reasonable alternatives and thereby ruined its

environmental impact statement.” Simmons, 120 F.3d at 670. Here, RUS has similarly “ruined”

its environmental impact statement by limiting itself to alternatives that increase the transfer

capacity between Iowa and Wisconsin through the construction of the massive high-voltage

transmission line proposed by the private Transmission Companies.

      D. The Defendants’ EIS Did Not Adequately Consider Cumulative Impacts as
         NEPA Requires.

       Defendant RUS also violated NEPA by failing to adequately consider the cumulative

impacts of this line in combination with other transmission lines and other large infrastructure

projects like highways that put additive pressures on the same ecosystems, watersheds, and

species. 40 C.F.R. §§ 1508.25(a)(2), (c)(3). CEQ’s Regulations explain that:

       Cumulative impact is the impact on the environment which results from the
       incremental impact of the action when added to other past, present, and reasonably
       foreseeable future actions regardless of what agency (Federal or non-Federal) or
       person undertakes such other actions. Cumulative impacts can result from
       individually minor but collectively significant actions taking place over a period of
       time.



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40 C.F.R. § 1508.7 (emphasis in original); see generally Delaware Riverkeeper Network v.

FERC, 753 F.3d 1304, 1319 (D.C. Cir. 2014).

        NEPA’s “hard look” requirement extends to cumulative impacts, and analyses fall short

of that requirement if they include so little “detail and quantification . . . such that an objective

reviewer cannot be confident that the agency took the hard look at environmental consequences

that NEPA requires.” Habitat II, 363 F. Supp. 2d at 1101; see also Neighbors of Cuddy Mountain

v. U.S. Forest Serv., 137 F.3d 1372, 1379 (9th Cir. 1998) (“To ‘consider’ cumulative effects,

some quantified or detailed information is required.”).

        The RUS’s approach to cumulative impacts in this case is fatally flawed from the

beginning because the EIS completely fails to consider or discuss cumulative effects from the

CHC transmission line in combination with past actions and already-built projects in the region,

without even getting to “present, and reasonably foreseeable future actions.” The EIS ducks this

analysis altogether by arguing that:

        The cumulative effects of past actions are accounted for in the description of the
        affected environment presented for each resource in Chapter 3; therefore, no past
        projects are included in the cumulative action scenario.

SPF at ¶ 92.

        Describing the current setting for the proposed CHC high-voltage transmission line is in

no way a legally adequate substitute for examining the cumulative impacts from this new

massive transmission line in combination with “past” projects. Delaware Riverkeeper Network,

753 F.3d at 1319, explicitly requires consideration of not only ongoing and future actions, but

also past actions that impact the same area, and the “overall impact that can be expected if the

individual impacts are allowed to accumulate.” In City of Carmel-By-The-Sea v. U.S. Dep’t of

Transp., 123 F.3d 1142, 1160 (9th Cir. 1997), the court found that an EIS was insufficient when



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it “describe[d] past projects in the area with generalities insufficient to permit adequate review of

their cumulative impact.”

        Nothing in the Bush Administration’s Guidance on the Consideration of Past Actions in

Cumulative Impacts Analysis (June 24, 2005),12 suggests that federal agencies may completely

dispense with consideration of past actions when assessing cumulative impacts, merely by

reciting magic words that a description of current conditions includes the current aggregative

effects of past actions. That Guidance is of course not binding, nor is it entitled to any

deference.13 It was a response to decisions suggesting that environmental review for Forest

Service timber cuts needed to include a catalog and analysis of all previous cuts in a national

forest. Here, the issue is whether an environmental review for a high-voltage transmission line

can ignore the impacts of two specific past projects of the same kind in the same geographic

area, with no attempt to assess how the three projects together might affect the region’s

aesthetics, wildlife habitat, resiliency, and recreational uses. See, e.g. Indigenous Env’t Network

v. United States Dep’t of State, 347 F.Supp.3d 561 (D. Mont. 2018) (requiring EIS for

KeystoneXL pipeline to include analysis of cumulative impacts with earlier Alberta Clipper

pipeline project).

        In fact, even in its “description of the affected environment,” the Defendant RUS’s EIS

fails to even acknowledge several other major high-voltage transmission line projects in the same

area. SPF at ¶ 93. The Badger-Coulee high-voltage transmission line also cuts through the

Driftless Area and connects to the Cardinal substation in Middleton, Wisconsin. SPF at ¶ 94. In

the “affected environment” discussion, the EIS only references the Badger-Coulee transmission



12
   CEQ, Guidance on the Consideration of Past Actions in Cumulative Effects Analysis (Jun. 24, 2005),
https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-PastActsCumulEffects.pdf.
13
   John C. Grothaus, Questionable Authority: A Recent CEQ Guidance Memorandum, 37 Envt. L. 885 (2007).

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line when providing photographs of it as an example of what the CHC transmission line would

look like. SPF at ¶ 93. The Badger-Coulee line and the Cardinal-Hickory Creek were both part of

the same “portfolio” of transmission lines. SPF at ¶ 95. The CapX2020 Hampton-Rochester-La

Crosse line passes through Minnesota, crosses the Mississippi River and then proceeds to a

substation in La Crosse County, Wisconsin.14

        These huge transmission lines include west-to-east segments running perpendicular to the

south-to-north ecologically-vital Mississippi Flyway for migratory birds, thereby creating a

collision risk. SPF at ¶ 112. The EIS nowhere considers how the combination of these huge

transmission line projects and other large development projects in the same geographical area

would affect wildlife, including migratory birds that would have to now avoid multiple high-

voltage transmission lines and towers. SPF at ¶ 92-93. Nor does the EIS consider how tourism in

the region, or in the Upper Mississippi River National Wildlife and Fish Refuge specifically,

would be affected by these large transmission lines in combination. SPF at ¶ 92-93.

        The EIS’s cumulative impacts analysis for “current” and “future” projects is also

insufficient. First, the geographic scope of the analysis is drawn too narrowly.

        The RUS’s EIS in the present case sets out a “cumulative impact spatial boundary” for

each “affected resource.” SPF at ¶ 96. For example, the analysis of cumulative impacts on

wildlife is limited to projects and actions within “the Savanna and Coulee Sections of the

Driftless Area Ecoregion bounded to the north by where the Turkey and Wisconsin Rivers join

the Mississippi River.” SPF at ¶ 97. The Turkey River joins the Mississippi River on the Iowa

side about half of a mile to the west of where the transmission line would cross the Mississippi

River and the Refuge. SPF at ¶ 98. This a nonsensical “northern” boundary because it is


14
  Rural Utilities Service, Dairyland Power Cooperative: CapX 2020 Hampton-Rochester-La Crosse Transmission
Line Project, 77 Fed. Reg. 41,369 (July 13, 2012).

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essentially due west from the river crossing and because it creates an absurdly limited analysis

area for wildlife on the Iowa side of the Mississippi River. The EIS itself acknowledges that:

        Owing to its location in the heart of the Mississippi Flyway, many species of bird
        migrate through or occupy habitat within the Refuge. This includes species
        dependent on wetland and open water habitat such as the wood duck, mallard, blue-
        winged teal, American wigeon, gadwall, northern pintail, greenwinged teal,
        canvasback, lesser scaup, common goldeneye, ringed-necked duck, bufflehead,
        ruddy duck, merganser, belted kingfisher, Canada goose, and Tundra swan.

SPF at ¶ 99. Because these, and many other, species migrate, they can suffer harmful cumulative

impacts from projects and actions all along their migration route. CEQ’s guidance on cumulative

impacts15 provides that for “[m]igratory wildlife,” “[p]ossible [g]eographic [a]reas for [a]nalysis”

would include “[b]reeding grounds, migration route, wintering areas, or total range of affected

population units.” The Defendant RUS’s EIS addresses cumulative wildlife impacts in about one

page. SPF at ¶ 100. The EIS does not even acknowledge the special issue of cumulative impacts

on migratory species. SPF at ¶ 100.

        The northern boundary for wildlife cumulative impacts on the Wisconsin side—“where

the … Wisconsin Rivers join the Mississippi River”—fares no better. SPF at ¶ 97. The

Wisconsin River joins the Mississippi River at Wyalusing State Park, which is further south than

the Cardinal substation in Middleton. SPF at ¶ 102. In other words, the scope for cumulative

impacts for wildlife (and the same scope is used for trees, plants, and wetlands) does not even

include the entire CHC transmission line route. Even if the EIS’s description of the geographical

area for its cumulative impacts analysis area was a mistake—even though that description of the

geographic scope for wildlife and vegetation is repeated in multiple places in the cumulative

impacts section, SPF at ¶ 97—and the RUS somehow meant to actually consider cumulative



15
  CEQ, Considering Cumulative Effects Under the National Environmental Policy Act (Jan. 1997),
https://www.energy.gov/sites/default/files/nepapub/nepa_documents/RedDont/G-CEQ-ConsidCumulEffects.pdf.

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impacts beyond that area, the agency’s failure to clearly disclose the considered area, and why it

chose such area, would violate NEPA.

       “[T]he choice of analysis scale [for the cumulative impacts analysis] must represent a

reasoned decision and cannot be arbitrary.” Habitat II, 363 F. Supp. 2d at 1097 (quoting Idaho

Sporting Cong., Inc. v. Rittenhouse, 305 F.3d 957, 973 (9th Cir. 2002). An agency must therefore

“provide support for its choice of analysis area.” Id. (quoting Native Ecosystems Council v.

Dombeck, 304 F.3d 886, 902 (9th Cir. 2002)). An agency should consider whether an affected

species also uses habitat outside of the project area. Id.

       The circumstances in the three Habitat Education Center cases are analogous to the

present CHC transmission line case when it comes to the federal agency’s failure to fully and

fairly consider cumulative impacts. Habitat I, 363 F. Supp. 2d at 1078–83; Habitat II, 363

F.Supp.2d 1090; Habitat III, 381 F.Supp.2d 842. In each of these three cases, the U.S. Forest

Service approved timber sales allowing thousands of acres of logging in the same geographical

area of the Chequamegon-Nicolet National Forest in Northern Wisconsin. Each of the federal

agency’s separate environmental impact statements, however, looked at that one timber sale’s

impacts on threatened red-shouldered hawks, northern goshawks and pine marten in isolation

and failed to look at the cumulative impacts of the three “past, present, and reasonably

foreseeable future actions” in combination in destroying the wildlife’s needed habitat to survive.

       The district court (Judge Adelman) accordingly ruled in favor of the plaintiffs and

reversed the Forest Service’s timber sale approvals in each of these cases because of the lack of

“sufficiency of the cumulative impacts analysis,” and “REMANDED to the Forest Service for

proceedings consistent with this opinion.” In addition, the district court “ENJOINED” each of




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the three separate timber sale projects “until such time as the EIS complies with NEPA.” E.g.,

363 F. Supp. 2d at 1089.

        Similarly, in Natural Resources Defense Council, Inc. v. Hodel, 865 F.2d 288, 297 (D.C.

Cir. 1988), the court held that an agency violated NEPA when it failed to adequately consider

“the effect of simultaneous inter-regional development on migratory species” (emphasis in

original). The court explained that “merely announc[ing] that migratory species may be exposed

to risks of oil spills and other ‘impacts’ throughout their routes” was not sufficient because

“[t]hese perfunctory references do not constitute analysis useful to a decisionmaker.” Id. at 299.

        In Habitat II, 363 F. Supp. 2d at 1097–98, the record did not make clear what geographic

area the agency used when considering cumulative impacts for the goshawk, red-shouldered

hawk, and American marten. The district court found that the U.S. Forest Service’s cumulative

impacts analysis violated NEPA in part because the agency “should have disclosed in the EIS

how it chose such area and by failing to do so it violated the requirements of NEPA.” Id. at 1098.

Similarly, the agencies here not only used a flawed geographic scope, but failed to explain why

they chose that scope. SPF at ¶ 103.

        Second, even for the projects and actions that the EIS does address in the cumulative

impacts discussion, the EIS essentially just lists other projects and actions and states that there

would be cumulative impacts, without engaging in any meaningful analysis of what those

cumulative impacts would be. For example, the cumulative impacts analysis for wildlife does

little more than list other infrastructure projects in the area and acknowledge that the projects

will cumulatively destroy, degrade, and fragment habitat. SPF at ¶ 100. This mere cataloging of

projects is not sufficient.




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       In Habitat II, 363 F. Supp. 2d at 1100–02, the agency considered cumulative impacts on

specific species, yet even that discussion “provide[d] too little detail to demonstrate that the

Forest Service took a hard look at the cumulative effects of past, present, and reasonably

foreseeable future logging projects on red-shouldered hawk and goshawk.” The EIS did not

elaborate on how much habitat for these species exists or “make clear how the [proposed] project

and other activities will affect such habitat.” Id. at 1101. The EIS acknowledged “that logging,

road construction, road improvement, and other human activities will impact goshawk and red-

shouldered hawk and their habitat, [but] the analysis provides no specific information concerning

such impacts.” Id.

       The analysis in the RUS’s EIS in this case is even less detailed than the Forest Service’s

too-limited analysis that was reversed in Habitat II. The EIS here devotes only about one page to

all wildlife cumulative impacts, and does not even mention any specific species. It makes general

statements like the following:

       Any projects that remove, degrade, or fragment habitat—such as transportation
       improvement projects, new energy development, and new or rebuilt transmission
       lines—would contribute to the cumulative adverse impacts that may occur by
       converting undeveloped areas to developed areas, changing forested and shrubland
       land cover types to grassland, and loss of area to structure and ancillary facilities.

SPF at ¶ 101. This “analysis” is much too general to provide any meaningful information. See

Neighbors of Cuddy Mountain, 137 F.3d at 1378–79 (finding that cumulative impacts analysis

was inadequate when it provided “some information in regard to the cumulative effects of all

proposed timber sales on old growth habitat, but the analysis provided was very general”). The

RUS’s “analysis” of cumulative adverse impacts of this massive CHC transmission line in

combination with other huge transmission lines and other “past, present, and reasonably

foreseeable future actions” in the relevant geographical area is so thin and insufficient as to be



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arbitrary and capricious, an abuse of discretion, and contrary to law, and, therefore, should be

reversed on this ground alone.

      E. The EIS Failed to Adequately Analyze Climate Change Impacts as NEPA
         Requires.

       Finally, the EIS’s analysis of potential greenhouse gas emissions is wholly inadequate.

Instead of making a reasonable analysis or estimate of how much electricity from fossil-fuel

(coal and gas) generating plants the proposed line would carry, Defendants provided carbon

emission estimates if the transmission line carried 100% coal-fired power—12.3 million metric

tons of carbon dioxide per year—or 100% wind power—0.272 million metric tons of carbon

dioxide per year—and told policymakers and the public that it would be somewhere in between.

SPF at ¶ 177. That does not meet NEPA’s requirements. Federal agencies may not simply throw

up their hands, and say there is no accepted way of making these estimates. Even when

information is incomplete or unavailable, the rules require agencies to explain how significant

the impact might be, what evidence is available, and how others have been making those

estimates. 40 C.F.R. § 1502.21(c); Vecinos para el Bienestar de la Comunidad Costera v. FERC,

6 F.4th 1321 (D.C. Cir. 2021); Sierra Club v. FERC, 867 F.3d 1357 (D.C. Cir. 2017).

       At the hearings before the Public Service Commission of Wisconsin, Citizens Utility

Board expert Mary Neal confirmed by use of her power system modeling that the Transmission

Companies “greatly overstated” the “highly speculative” wind generation-related benefits, and

explained that the CHC transmission line would actually increase coal-generated electricity. SPF

at ¶ 178. Yet nowhere in the EIS is there an estimate or even a reasonable range of estimates

about what the climate impact would actually be. Consequently, the EIS does not “provide the

information necessary for the public and agency decisionmakers to understand the degree to




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which the [federal action] at issue would contribute to [climate change] impacts.” WildEarth

Guardians v. Zinke, 368 F.Supp.3d 41, 51 (D.D.C. 2019).

        That gap in the analysis is compounded by RUS’s refusal to use the social cost of carbon

to monetize climate impacts.16 RUS argues that it is not required to monetize impacts to any

resource, SPF at ¶ 179, but it does monetize such claimed benefits such as “positive effects to

employment and income” or alleged energy costs savings. SPF at ¶ 180. Federal courts have

found agency analyses supporting regulations to be inadequate when they monetize benefits of

an action but not costs. Center for Biological Diversity v. National Hwy. Traffic Safety Admin.,

538 F.3d 1172, 1199–1203 (9th Cir. 2008). Another federal court concluded that NEPA required

“a ‘hard look’ at whether this tool [the social cost of carbon], however imprecise it might be,

would contribute to a more informed assessment of the impacts than if it were simply ignored.”

High Country Conservation Advocates v. United States Forest Serv., 52 F.Supp.3d 1174, 1193

(D. Colo. 2014). Most recently, the D.C. Circuit remanded an EIS from the Federal Energy

Regulatory Commission that refused to use the social cost of carbon analysis to assess the

monetary impact of a set of natural gas pipelines and terminals. Vecinos, 6 F.4th at 1329. RUS

should have included an estimate of the social cost of the additional carbon emissions that will

result from the CHC transmission line, or provided a reasoned explanation for why it could not

be done. WildEarth Guardians, 368 F.Supp. 3d at 74–75 & n. 30.

                                                   ***

        For all of these reasons, the EIS fell short of NEPA’s requirements, and the Defendants’

findings in their Record of Decision approving the EIS are therefore arbitrary and capricious, an


16
  See Interagency Working Group on Social Cost of Greenhouse Gases, Technical Support Document: Social Cost
of Carbon, Methane, and Nitrous Oxide—Interim Estimates under Executive Order 13990 (Feb. 2021),
https://www.whitehouse.gov/wp-
content/uploads/2021/02/TechnicalSupportDocument_SocialCostofCarbonMethaneNitrousOxide.pdf?source=email.

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abuse of discretion and contrary to law under the Administrative Procedure Act and, therefore,

should be reversed and remanded. None of the federal agency actions at issue in this litigation

were adequately informed by the insufficient EIS. Nor did members of the public get the analysis

they needed to make their own informed judgment.

       The Defendant agencies impermissibly skewed the “purpose and need” statement to

preordain the Transmission Companies’ desired result. The Defendants did not “rigorously

explore and objectively evaluate all reasonable alternatives,” and they proceeded without a

thorough understanding of whether and to what extent reasonable “non-wires” alternatives and

alternative transmission solutions might be available and how they might be better alternatives.

The Defendants did not “rigorously explore and objectively evaluate all reasonable alternatives”

as to transmission line routes that could avoid cutting through the protected Upper Mississippi

River National Wildlife and Fish Refuge and the scenic Driftless Area landscape and could be

reasonable, available and preferable. The Defendants likewise failed to fully and fairly consider

the cumulative impacts and environmental damages an additional massive high-voltage

transmission line and high towers in this geographic region in combination with the other “past,

present, and reasonably foreseeable future” transmission lines and other major development

projects. Finally, the Defendants did not fully and fairly consider adverse climate change impacts

in any meaningful manner. Each of these failures separately and together violate NEPA and the

APA. Consequently, the Defendant agencies’ permit approvals, which are underpinned by the

flawed EIS, themselves are invalid, and must be vacated until a legally sufficient EIS is

conducted and finalized in compliance with NEPA’s requirements.




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IV.     CONVEYING A 260-FOOT-WIDE RIGHT-OF-WAY FOR THE CHC
        TRANSMISSION LINE AND ITS TOWERS TO CUT THROUGH THE UPPER
        MISSISSIPPI RIVER NATIONAL WILDLIFE AND FISH REFUGE VIOLATES
        THE NATIONAL WILDLIFE REFUGE SYSTEM IMPROVEMENT ACT OF
        1997.

        The National Wildlife Refuge System, which includes the Upper Mississippi River

National Wildlife and Fish Refuge, is governed by the National Wildlife Refuge System

Improvement Act of 1997, 16 U.S.C. §§ 668dd-668ee (the “Refuge Act”).17 The Refuge Act

flatly prohibits uses of Refuges that are not “compatible” with the wildlife purposes of the

individual Refuge and the Refuge System’s overall mission. Id. § 668dd(d)(3)(A)(i). The statute

also defines “compatible” narrowly, with consideration of non-biological factors expressly

prohibited. Id. § 668ee(1)–(3).

        Defendant USFWS has not determined that the construction of the CHC transmission line

is “compatible” with the Upper Mississippi River National Wildlife and Fish Refuge’s wildlife

purposes. Why not? Because it cannot reasonably come close to satisfying that statutory

standard. Instead, USFWS argues that the CHC transmission line somehow falls outside the

Refuge Act’s compatibility requirement: (1) because it can be “grandfathered in” as

“maintenance” of an existing transmission line right-of-way; and most recently, (2) because the

right-of-way conveyance can be restructured as a land exchange rather than an easement grant,

and that will avoid all of the Refuge Act’s specific prohibitions.

        Neither of those claims has any merit. The new massive CHC high-voltage 345-kV

transmission line and 20-story high towers on a new right-of-way cutting a wide swath through




17
   For a review of the Refuge Act and its rationale, see generally Cam Tredennick, The National Wildlife System
Improvement Act of 1997: Defining the National Wildlife Refuge System for the Twenty-First Century, 12 Fordham
Envt. L. J. 41 (2000). As noted in the Committee Report for the Refuge Act, the National Wildlife Refuge System is
a “system of Federal lands acquired and managed for the conservation of fish, wildlife, plants, and their
habitat.” H.R. Rep. 105-106, 1 (1997), as reprinted in 1997 U.S.C.C.A.N. 1798-5, 1798-5.

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the protected National Wildlife and Fish Refuge is plainly not “maintenance,” nor can it

reasonably be characterized as a “minor expansion” or “realignment” for safety purposes. The

right-of-way for the CHC transmission line is brand new, it follows a new route, it is nearly

twice as wide as the existing transmission line right-of-way and will carry twice the voltage, and

the transmission towers will be much larger and taller. SPF at ¶ ¶ 121, 122, 123, 124, 126, 127.

Nor can repackaging this direct violation of the Refuge Act’s statutory requirements into a

contrived land exchange, in which presumably the Transmission Companies would get fee

simple title to the same right-of-way, be permissible. That obvious attempted circumvention of

the Refuge Act’s specific requirements is legally impermissible. Courts must look at the entire

statute, and therefore cannot read USFWS’s more general land exchange authority to trump the

specific requirements governing which National Wildlife Refuge uses may be allowed and which

are prohibited.

          Defendants likely will contend that, by withdrawing their previous “Compatibility

Determination” and special use permit in favor of a land exchange, they have rendered the

Refuge Act issues moot. It remains “well settled,” however, that “a defendant’s voluntary

cessation of a challenged practice does not deprive a federal court of its power to determine the

legality of the practice.” Friends of the Earth, Inc., 528 U.S. at 189 (quoting City of Mesquite v.

Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982)). Voluntary cessation of a challenged practice

rarely moots a federal case, and does so only when it is “absolutely clear that the allegedly

wrongful behavior could not be reasonably be expected to recur.” Friends of the Earth, 528 U.S.

at 189.

          The party urging mootness bears the “heavy burden” of showing that it will not “revert

to” its prior policy. Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S.Ct. 2012, 2019 n.



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1 (2017). Here, not only can the government revert to its previous illegal act—allowing the CHC

transmission line across the protected National Wildlife and Fish Refuge—but it has already

indicated its intention to do exactly that. SPF at ¶ 137. See generally Northeastern Fla. Chapter

of Associated Gen. Contractors of Am. v. City of Jacksonville, Fla., 508 U.S. 656, 662 (1993)

(amendment of challenged ordinance does not moot case because new ordinance

“disadvantage[d] [plaintiffs] in the same fundamental way”); Indigenous Env’t Network v.

Trump, __F.Supp.3d__, 2021 WL 2187286, at *4 (D. Mont. May 28, 2021) (Biden revocation of

KeystoneXL pipeline permit did not moot challenge because subsequent President could re-issue

it); Natural Res. Def. Council v. U.S. Dep’t of Energy, 362 F.Supp.3d 126, 142 (S.D.N.Y. 2019)

(Department of Energy’s adoption of “more tailored approach” to achieve the same result did not

moot case).

      A. The National Wildlife Refuge System Improvement Act of 1997 Adopted a Strict
         Prohibition Against Any Uses of National Wildlife Refuges that Are Not
         “Compatible” with the Refuge System’s Wildlife Mission. As Defendants
         Acknowledge, Projects like the CHC Transmission Line Do Not Meet the
         “Compatibility” Standard.

       The Refuge Act was a thoroughgoing revision of the previous National Wildlife Refuge

System Administration Act of 1966, 16 U.S.C. §§ 668dd, 668ee (1994) (amended 1997). Prior to

1966, Defendant USFWS managed National Wildlife Refuges under a hodgepodge of specific

laws governing individual refuges. The 1966 Act created the National Wildlife Refuge System,

but it still left discretion to USFWS and individual Refuge managers on whether to allow non-

wildlife-related uses on these public lands. Refuge managers were not supposed to allow

anything other than “compatible uses,” but neither the term “compatible” nor the missions of the

Refuge System were defined in the statute.




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        The result was that, by the 1990s, USFWS had allowed almost half of the National

Wildlife Refuges in the U.S. to be crossed by “right-of-way projects” like transmission lines and

pipelines, and had allowed many other private economic uses that were not compatible with

wildlife purposes, often because of external political or economic pressure. See General

Accounting Office, National Wildlife Refuges: Continuing Problems with Incompatible Uses

Call for Bold Action, GAO/RCED-89-196 at 3, 17 tbl. 2.1 (Sept. 1989),

https://www.gao.gov/assets/rced-89-196.pdf. As the GAO reported:

        Based on our discussions with FWS officials, consideration of nonbiological
        factors has also played an important role in the approval of rights-of-way across
        refuges. As one FWS official told us, when rights-of-way applications are
        considered, the strongest biological reasons for disapproving the use can be
        overcome by the weakest economic rationale.

Id. at 26.

         Congress responded by passing the 1997 Refuge Act,18 which, for the first time,

expressly declared that the sole mission of the Refuge System is “to administer a national

network of lands and waters for the conservation, management, and where appropriate,

restoration of the fish, wildlife, and plant resources and their habitats within the United States for

the benefit of present and future generations of Americans.” 16 U.S.C. § 668dd(a)(2).

        Consistent with that mission, the Refuge Act flatly prohibited USFWS from “initiat[ing]

or permit[ting] a new use of a refuge, or expand[ing], renew[ing], or extend[ing] an existing use

of a refuge, unless [USFWS] has determined that the use is a compatible use and that the use is

not inconsistent with public safety.” 16 U.S.C. § 668dd(d)(3)(A)(i). Indeed, reflecting the

concern about the proliferation of “right-of-way projects” in the GAO report, the Refuge Act


18
  In explaining the need for the legislation, the Committee Report for the 1997 amendments states that several
reports “concluded that the lack of an overall mission and management procedures had allowed numerous
incompatible uses to be tolerated on wildlife refuges.” H.R. Rep. 105-106, 3 (1997), as reprinted in 1997
U.S.C.C.A.N. 1798-5, 1798-7.

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specifically provides that USFWS may not “permit the use of, or grant easements in, over,

across, upon, through, or under any areas within the System for purposes such as but not

necessarily limited to, powerlines, telephone lines, canals, ditches, pipelines, and roads,

including the construction, operation, and maintenance thereof” unless USFWS “determines that

such uses are compatible with the purposes for which these areas are established.” 16 U.S.C. §

668dd(d)(1)(B).

        The Refuge Act defines “compatible use” narrowly as “a wildlife-dependent recreational

use or any other use of a refuge that, in the sound professional judgment of the Director, will not

materially interfere with or detract from the fulfillment of the mission of the System or the

purposes of the refuge.” 16 U.S.C. § 668ee(1). “Sound professional judgment” is defined

specifically and narrowly, to prohibit consideration of economic or nonbiological factors. 16

U.S.C. § 668ee(3). It means a “finding, determination, or decision that is consistent with

principles of sound fish and wildlife management and administration, available science and

resources, and adherence to the requirements of [the Refuge] Act and other applicable laws.” 16

U.S.C. § 668ee(3).

        USFWS rules and policies further bolster the presumption against finding new or

expanded refuge uses “compatible.” Defendant USFWS’s Final Compatibility Policy Pursuant

to the National Wildlife Refuge System Improvement Act of 1997, 65 Fed. Reg. 62,484 (Oct. 18,

2000), incorporated into part 603 of the USFWS Manual, places the burden of proving

compatibility on applicants. 65 Fed. Reg. at 62,489, 603 FW § 2.11(B)(1).19 Moreover, the rules

provide that proposed private “economic” uses (like the CHC transmission line) are allowable



19
  USFWS includes applicable rules and policies in the USFWS “Service Manual,”
https://www.fws.gov/policy/manuals/. This brief will cite the Manual as “FW,” with the part number first and the
specific section second.

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only if “the use contributes to the achievement of the national wildlife refuge purposes or the

National Wildlife Refuge System mission.” 50 C.F.R. § 29.1 (emphasis added).

       Defendants have long recognized that “right-of-way projects” like the massive CHC

transmission line are not “compatible” with wildlife purposes. The USFWS Manual states that

“[i]t is the policy of the Service to discourage the type of uses embodied in right-of-way

requests. On areas in the National Wildlife Refuge System (System), if a right-of-way cannot be

certified as compatible with the purposes for which a unit was established, it cannot be granted

without authorization by Congress.” 340 FW § 3.3. The Manual goes on to emphasize that, in

right-of-way cases, “[a] determination of compatibility with the purposes for which a unit of the

System was established must mean consideration only of wildlife values or project values, not of

any broader social or economic concerns.” Id. § 3.6(A)(3).

       When the Defendant USFWS previously rejected a similar high-voltage transmission line

proposal to cross the Upper Mississippi Refuge at Black River Bottoms near where the Black

River flows into the Mississippi River, the Refuge managers found that expanding an expired

right-of-way “to accommodate a new 345 kV line would not contribute to the purposes of the

Refuge or the Refuge System. In fact, expansion of the expired right-of-way would detract from

the Refuge purpose and Refuge goals.” SPF at ¶ 104. Specifically, the Refuge managers found

that the proposed transmission line would:

              increase the risk of negative interactions between invasive plants and adjacent

               forested/grassland habitats;

              greatly increase the risk of bird strikes, especially for migrant species which may

               be unfamiliar with the presence of power lines;




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                 impact wildlife-dependent recreational opportunities due to reduced habitat

                  quality which directly impacts wildlife species upon which recreation is based;

                 compromise the scenic qualities of the Black River bottoms because of the

                  presence of a much larger right-of-way; and

                 impair the quality of the visitor experience and likely reduce the public’s

                  opportunity to experience wildlife.

SPF at ¶ 105. USFWS also stated its concern about the precedent that allowing the use would

create, recognizing that permitting this transmission line use would likely lead to recurring

requests for similar activities that will be difficult to manage in the future. SPF at ¶ 106.20

         The concerns that led USFWS to reject the Black River Bottoms transmission line

crossing apply with like force to the CHC high-voltage transmission line as well, and are

reflected in the final EIS. SPF at ¶ 107. To its credit, Defendant USFWS has never backed off

from its stated position that projects like the proposed CHC high-voltage transmission line do not

meet the Refuge Act’s compatibility requirement. Therefore, the sole question is whether there is

a legitimate and legally permissibly way under the Refuge Act to get around the “compatibility”

requirement and still be consistent with Congress’ statutory language and intent. The answer is

that there is not.

       B. The CHC Transmission Line Does Not Fit within any Recognized Exceptions to
          the Refuge Act’s Compatibility Requirement.

         As explained above, Defendant USFWS has not found, and could not legally find, that

the CHC transmission line right-of-way blasting through the protected National Wildlife and



20
   The Upper Mississippi Refuge managers did issue a favorable “compatibility determination” to allow a
transmission line to be built on an existing right-of-way near an operational coal-fired power plant near Alma,
Wisconsin. It is highly questionable whether that decision complied with the Refuge Act, but it appears no one
sought judicial review.

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Fish Refuge is compatible with or would contribute to the Refuge’s wildlife and other

conservation purposes. Instead, Defendants’ position appears to be that either: (1) the massive

CHC transmission line could be “grandfathered in” as “maintenance” or a “minor realignment”

of a smaller existing transmission line the Transmission Companies have agreed to remove; or

(2) the transaction could be restructured as a land exchange, in which the Transmission

Companies would get fee simple title to the right-of-way and the Refuge would receive

compensation in the form of land, thereby taking the same physical right-of-way land and water

out of the Refuge with a magical swipe of pen and making the violations of the Refuge Act’s

requirements disappear. Neither of these arguments has any merit. The first is not a reasonable or

sensible reading of clear statutory language. The second is a bit of contrived legal legerdemain

that would effectively nullify the language and very purpose of the Refuge Act.

               1. The CHC Transmission Line May Not Lawfully Be “Grandfathered in” as
                  “Maintenance” or a “Minor Realignment” of an Existing Transmission Line.

       Recognizing that the CHC transmission line’s crossing of the Refuge could not lawfully

or fairly be described as a “compatible use” under the Refuge Act, Defendant USFWS decided to

characterize this massive new development project as “maintenance” of an existing transmission

line, a “minor realignment of an existing right-of way to meet safety standards,” thus requiring

the Transmission Companies to show only that they had complied with the terms and conditions

of the existing easement under 50 C.F.R. § 25.21(h), 603 FW § 2.11(H)(3). SPF at ¶ 117–120.

The Transmission Companies had agreed that, if they got their new wide right-of-way, they

would take down an existing smaller low-voltage transmission line about a mile away and

relocate another one to the new route and then revegetate and restore the old right-of-way. SPF at

¶¶ 121–123. The argument is that those promised actions would compensate for the losses the

protected National Wildlife and Fish Refuge would suffer from the CHC transmission line

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crossing, and might even provide a net benefit to the Refuge and the surrounding area in the long

run. SPF at ¶¶ 128–130.

       The Upper Mississippi River National Wildlife and Fish Refuge was established and

created by Congressional statute. That has permanence. The Refuge’s protections and durability

should not be subject to the whims of a particular federal administration or “let’s make a deal”

horse-trading with politically-connected and powerful private Transmission Companies and

other developers.

       This is precisely the kind of deal the Refuge Act was designed to prohibit. The Refuge

Act is clear that incompatible uses in existence when the law became effective would not be

“grandfathered in.” To that point, Congress in the Refuge Act specifically directs USFWS to

“provide for the elimination or modification of any use as expeditiously as practicable after a

determination is made that the use is not a compatible use.” 16 U.S.C. § 668dd(d)(3)(B)(vi); see

also 50 C.F.R. § 26.41(d). Consistent with that goal, the Refuge Act also provides that all

existing uses other than wildlife-dependent recreational uses were to be reevaluated for

compatibility whenever there are changed conditions or there is new information, or at least

every ten years. 16 U.S.C. § 668dd(d)(3)(B)(vii); 50 C.F.R. § 25.21(f), (g).

       The only exception was existing rights-of-way authorized for more than 10 years, id. §

25.21(h), which the 1997 statute did not allow Defendant USFWS to immediately terminate.

That exception, however, gives no authority to USFWS to allow any new rights-of-way that are

not compatible, or even to permit the expansion or extension of existing rights-of-way. Like a

“nonconforming use” provision in a zoning ordinance, the USFWS rules allow for

“maintenance” of existing rights-of-way, defined to include “minor expansion or minor

realignment to meet safety standards,” and nothing more. 50 C.F.R. § 26.41(c), 603 FW §



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2.11(D). The USFWS Manual then says “[e]xamples of minor expansion or realignment include:

expand the width of a road shoulder to reduce the angle of the slope, expand the area for viewing

on-coming traffic at an intersection, and realign a curved section of a road to reduce the amount

of curve in the road.” 603 FW § 2.11(D).

        The proposed new massive CHC 345-kV high-voltage transmission line with its 195-foot

towers and 260-foot wide right-of-way through the Refuge, SPF at ¶¶ 125, 127, is entirely

different from expanding the width of a road shoulder. Defendant USFWS’s determination that

the massive transmission line is “a minor realignment of an existing right-of-way to meet safety

standards,” SPF at ¶ 117, is indefensible. The CHC transmission line is not “minor,” in any sense

of the word, and its purpose is not to meet any stated safety standards.

        The new right-of-way will be up to six thousand feet away from the existing smaller

transmission lines. SPF at ¶ 123. The CHC right-of-way will be 260 feet wide instead of 150 feet

wide. SPF at ¶ 127. The transmission line towers closest to the Mississippi River will be 195 feet

high. SPF at ¶ 125. The proposed CHC transmission line is a new or, at best, significantly

expanded use, the authorization for which should have been fully reviewed by Defendant

USFWS for compatibility with both the Refuge’s congressionally-defined purpose and the

Refuge System’s mission.

        The Transmission Companies’ offer to provide land and restoration work to compensate

for the extensive damage caused by the CHC transmission line construction and operation is

legally and practically insufficient and does not make any difference. Defendant USFWS’s rule

expressly prohibits a practice that had become common in the pre-1997 period21—applicants

offering “compensatory mitigation” in order to obtain a “compatibility” finding that might not


21
  See generally, Robert Fischman, The National Wildlife Refuge System and the Hallmarks of Modern Organic
Legislation, 29 Ecology L.Q. 457 (2002).

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otherwise be available. The USFWS rules adopted in 2000 flatly forbid using “compensatory

mitigation to make a proposed use compatible.” 50 C.F.R. § 26.41(b), (c), 603 FW §§ 2.11 (C),

(D). The result of allowing these arrangements before 1997 had been a continuing proliferation

of non-compatible uses throughout the National Wildlife Refuge System, precisely what the

Refuge Act and Defendant USFWS’s own 2000 rules were intended to reverse.

        If this Court determines that the new CHC transmission line cannot be fairly

characterized as “maintenance” or a “minor realignment,” then it must find that the proposed

crossing of the Upper Mississippi National Wildlife and Fish Refuge violates the Refuge Act.

The compatibility provisions in the statute, as written, do not contain any other exceptions. Even

if the massive CHC transmission line followed the same right-of-way as the existing smaller

low-voltage transmission lines, it would still be a much wider right-of-way (SPF at ¶ 127) and

carry more than twice the voltage. SPF at ¶ 121, 124. It would be exactly the kind of “expansion”

of an existing use that the statute prohibits.

        The USFWS rules do require that any approved use of the Refuge creates “no net loss of

habitat quantity and quality.” 50 C.F.R. § 26.41(c). That requirement, however, applies only

after a use has already been found to be compatible. There is nothing in the statute or rules that

gives Refuge managers the discretion to transform noncompatible economic uses into

“compatible” uses if private developers offer to provide enough money, land, or restoration work

to persuade the Refuge manager that, on balance, there will be “no net loss of habitat quantity

and quality.” Id. Simply put, the arbitrary horse-trading violates the statutes that Congress has

written and enacted, and the Defendant USFWS’s own rules.

        Therefore, whether or not the Transmission Companies are “replacing the acreage

required for the realigned right-of-way with an acreage of equal value which will be afforded



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permanent protection as part of the Refuge,” SPF at ¶ 128, goes only to the issue of whether they

have met this separate legal obligation; it in no way affects the question of whether the massive

transmission line and high towers use is itself compatible with the purposes for which the Refuge

was established and with the Refuge System mission. It is not. For a “new” or “expanded” use,

the offer to donate land is precisely the kind of “compensatory mitigation” the USFWS’s rules

say cannot be used to make an otherwise-incompatible project compatible.

               2. Defendant USFWS Cannot Avoid the Refuge Act’s Specific Compatibility
                  Requirements by Using its General Land Exchange Authority.

       In July 2021, the Transmission Companies submitted a new proposal to try to circumvent

the compatibility requirements of the Refuge Act. SPF at ¶ 136. Their new idea is to convert the

legally improper easement and special use permit to cross the Refuge into a land exchange under

16 U.S.C. § 668dd(b)(3). Although Plaintiffs have not been informed of many details, it appears

that the proposal is for USFWS (and presumably the Corps, which owns some of the land in

question) to transfer fee title of the land for essentially the same right-of-way to the Transmission

Companies, and in exchange, the developers would give the government a 30-acre parcel on the

other side of the Mississippi River about two miles away. The theory is that, after a land

exchange, the very same right-of-way that the CHC transmission line would run through with the

very same harmful environmental and wildlife impacts would no longer be “in” the Refuge, and

therefore no longer be subject to the statutory prohibition against uses of Refuge land that are

incompatible with the Refuge’s wildlife purposes. Case No. 21-cv-00096, Dkt. 50 at 2, 10

(Transmission Companies’ Memorandum in Support of Expedited Motion to Stay).

       Contrary to what Defendants suggest, it is not nearly that easy to circumvent the Refuge

Act’s requirements, nor should it be through such legerdemain. The Refuge Act allows USFWS

to use land exchanges to deed away federal lands if and only if those lands are “suitable for

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disposition.” 16 U.S.C. § 668dd(b)(3)(A). There is no such showing here, nor could such a

showing reasonably be made.

        “Suitable for disposition” of course must be defined in light of the Refuge Act’s mission,

text, and structure as a whole. The very purpose of the Refuge Act was to foreclose and limit

private economic uses within the boundaries of protected National Wildlife Refuges, unless

found to contribute to wildlife conservation purposes. Land exchanges that, for example,

eliminate private inholdings and incompatible uses might be consistent with the Act’s

purposes.22 Land exchanges like the one being proposed by the Transmission Companies,

however, that add incompatible uses—here in a very big way—and are designed to get around

the Refuge Act’s specific substantive and procedural requirements, are unlawful and inconsistent

with USFWS policy. Indeed, in “plan[ning] and direct[ing] the continued growth of the System”

the USFWS must do so “in a manner that is designed to accomplish the mission of the

System….” 16 U.S.C. § 668dd(a)(4)(C) (emphasis added).

        Before the Refuge Act was adopted in 1997, it was not uncommon for Refuge managers

to occasionally allow incompatible uses such as roads, pipelines, and powerlines to cross

Refuges in exchange for land donations.23 The rule against using such compensatory mitigation

to make proposed uses artificially compatible, 50 C.F.R. § 26.41(b), was adopted precisely to

stop that practice. The Transmission Companies’ proposal would mark the return of the types of

questionable practices that prompted Congress to enact the Refuge Act in the first place. If

allowed, this would signal to private development interests who wish to dig copper mines, drill




22
   The Upper Mississippi Refuge’s Comprehensive Conservation Plan (CCP), for example, contemplates exchanging
Refuge lands that are intermingled with state wildlife management areas to “provide consistent management and
regulations and reduce confusion by visitors.” SPF at ¶ 131. Contrary to the Transmission Companies’ suggestion,
the CCP does not embrace the use of land exchanges whenever it would “benefit” the Refuge.
23
   See supra note 21.

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fracking wells, run tar sands pipelines, or construct high-voltage transmission lines through

protected National Wildlife Refuges that they can engage in those activities by making an offer

of land (or money to acquire land) that a Refuge manager is willing to accept, and all the

substantive and procedural impediments in the law would drop away.

        The U.S. District Court in Alaska recently rejected the idea that general land exchange

authority can allow developers and USFWS to avoid the specific requirements of public lands

statutes. In Friends of Alaska National Wildlife Refuges v. Bernhardt, 463 F.Supp.3d 1011 (D.

Alaska 2020), the USFWS had agreed to exchange land in the Izembek National Wildlife Refuge

in order to allow a road to be built through the Refuge between King Cove and Cold Bay,

Alaska.24

        The Izembek Refuge is governed by the Alaska National Interest Lands Conservation Act

(ANILCA), which, like the Refuge Act, has a provision on land exchanges. ANILCA § 1302(h),

16 U.S.C. § 3192(h). At the same time, however, Title XI of ANILCA has specific substantive

and procedural requirements for transportation and utility right-of-way projects across

“conservation system units.” ANILCA, subchap. IV, 16 U.S.C. §§ 3161–3173. One of those

requirements is that transportation or utility projects must be “compatible with the purposes for

which the unit was established,” and there must not be an “economically feasible and prudent

alternative route.” 16 U.S.C. § 3165.

        As in this case, USFWS made no attempt to argue that the proposed road was

“compatible with” the Izembek Refuge’s purposes. Nor did USFWS follow the procedures

outlined in Title XI. USFWS argued, however, that it did not need to follow Title XI because,



24
  The Friends decision was appealed to the Ninth Circuit. The Secretary of the Interior is reconsidering the Izembek
land exchange, however, and may well return to the Department’s previous position against the land exchange from
the Obama Administration. That would likely moot the appeal.

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once the proposed land exchange was completed, the lands would no longer be federal

conservation lands and therefore would no longer be covered by Title XI or ANILCA.

       Upon judicial review, the district court agreed with the plaintiff conservation groups that

USFWS could not “nullify the protections Congress established when adopting Title XI by

enabling land exchanges to circumvent its procedures.” Friends of Alaska National Wildlife

Refuges, 463 F.Supp.3d at 1025. Using the “well established canon of statutory interpretation,”

the court found that “the more specific procedural mandates of Title XI govern over the general

authority provided in [the land exchange section]” because that “avoids the superfluity of the

specific provision from being swallowed by the general one, giving effect to every clause of the

statute.” Id. (quoting RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645–46

(2012)) (internal quotation marks and alterations omitted) (specific controls the general, and

“commonplace statutory construction” applies when two provisions are both parts of the same

statutory scheme).

       As the United States Supreme Court has long recognized, allowing a specific provision to

be swallowed by a more general one “violat[es] the cardinal rule that, if possible, effect shall be

given to every clause and part of a statute.” RadLAX, 566 U.S. at 645 (quoting D. Ginsberg &

Sons, Inc. v. Popkin, 285 U.S. 204, 208 (1932)). Similarly here, using the general land exchange

provision to somehow trump the Refuge Act’s substantive compatibility requirements, and its

procedural requirements for compatibility determinations, cannot be reconciled with these

fundamental rules of statutory interpretation. That approach is impermissible as a matter of law

and violates Defendant USFWS’s statutory obligations.

        Even if this proposed land exchange met the requirements of the Refuge Act—which is

not the case here—implementing it would also violate NEPA, 42 U.S.C. § 4321 et seq., because



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it must be preceded by substantial additional environmental review. Under the right-of-way

easements and permits currently in place or under consideration for the CHC project, the

Transmission Companies must comply with those easements’ and permits’ terms, including

periodic review of compliance with easement conditions, and the easements would have a

limited time duration. Granting fee title, on the other hand, would exempt the Transmission

Companies from those requirements, and that, alone, could have substantial adverse

environmental impacts.

        The Ninth Circuit confronted this question in Center for Biological Diversity v. U.S.

Dept. of Interior, 623 F.3d 633 (9th Cir. 2010). There, the Bureau of Land Management

(“BLM”) approved a land exchange with Asarco, a mining company, so that it could expand its

copper mining operations near Ray, Arizona.25 BLM and Asarco argued to the court that the

environmental consequences of the land exchange alternative and the “no action” alternative

would be the same because Asarco had valid mining claims and would use the land for mining in

either case.

        The Ninth Circuit rejected that argument. The Court noted that, if the land remained

public, Asarco must submit Mining Plans of Operation to BLM under the Mining Law of 1872,

30 U.S.C. §§ 21–54, which would require Asarco to provide a significant amount of information

and go through many appropriate processes, all of which they could avoid if they held the land in

fee. Without that comparison of alternatives in the environmental impact statement, BLM could

not have taken the “hard look” required by NEPA. 623 F.3d at 646. Likewise, without that

comparison in its Record of Decision, BLM’s consideration of whether the proposed land


25
  The BLM derived its authority to approve of the land exchange under the Federal Land Policy and Management
Act, a statute whose mission differs from the mission of the Refuge System to “administer a national network of
lands and waters for the conservation, management, and where appropriate, restoration” of wildlife. 16 U.S.C. §
668dd(a)(2).

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exchange would serve the “public interest” under the Federal Land Policy and Management Act,

43 U.S.C. § 1716(a), was also “arbitrary and capricious” under the Administrative Procedure

Act. 623 F.3d at 647.

       If Defendant USFWS intends to pursue the Transmission Companies’ proposed land

exchange offer in this case without making the same comparison, the result will be the same: the

Defendant agency’s action will be contrary to both NEPA’s requirements and the “suitable for

disposition” requirement of the Refuge Act. The specific compatibility requirements of the

Refuge Act cannot be evaded by Defendant USFWS using the more general land exchange

provision.

V.     THE GENERAL PERMITS USED BY THE U.S. ARMY CORPS OF ENGINEERS
       TO AUTHORIZE THE DISCHARGES NECESSARY TO BUILD THE CHC
       TRANSMISSION LINE AND HIGH TOWERS VIOLATE THE CLEAN WATER
       ACT, NEPA, AND THE ENDANGERED SPECIES ACT.

       The massive CHC transmission line involves hundreds of crossings of rivers, streams,

and wetlands protected by the Clean Water Act. SPF at ¶ 181. This transmission line cannot be

built on its proposed route without federal permits from Defendant U.S. Army Corps of

Engineers. The Corps, however, decided not to do a project-specific analysis of whether the

CHC transmission line or the “discharges” along its route met the Clean Water Act’s

requirements through the “individual” permit process, but instead used so-called “general”

permits that the Corps says apply to all “utility lines,” no matter their size or scope. SPF at ¶ 78.

       Plaintiffs contend that this approach and the general permits themselves violate three

separate federal laws: (1) the Clean Water Act, because transmission lines like the CHC project

involve discharges that have more than “minimal” separate and cumulative adverse

environmental effects; (2) the National Environmental Policy Act, because these general permits

are major federal actions with significant potential environmental impacts but were not preceded


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by an environmental impact statement; and (3) the Endangered Species Act, because those

permits may affect listed species and critical habitat, but were not preceded by “programmatic”

consultation with the Defendant U.S. Fish & Wildlife Service. The Corps should be directed to

vacate the application of those general permits to the CHC project, and to instead do an

“individual” permit review to determine whether the transmission line and the discharges

involved in the project meet the requirements of the Clean Water Act and the rules.

       A. Background: The Corps’ General Permits for “Utility Lines.”

        The purpose of the Clean Water Act (“CWA”) is “to restore and maintain the chemical,

physical, and biological integrity of the Nation’s waters.” 33 U.S.C. § 1251. To accomplish that

purpose, the CWA broadly prohibits “the discharge of any pollutant by any person.” Id. §

1311(a), and prohibits “any addition of any pollutant to navigable waters from any point source.”

Id. § 1362(12).

        The primary exception to that broad prohibition is the National Pollutant Discharge

Elimination System (“NPDES”) permit program, which is administered by the U.S.

Environmental Protection Agency (“EPA”) under Section 402 of the CWA. Id. § 1342.

Concerned, however, that the NPDES permit requirements could prevent work needed to

maintain navigation in the waters of the United States, Congress added Section 404 of the

CWA,26 which grants the Corps, not the EPA, the authority to issue permits “for the discharge of

dredged or fill material into the navigable waters at specified disposal sites.” Id. § 1344.

“Dredged material” is material excavated from U.S. waters, and “fill material” is material

“placed in waters of the United States where the material has the effect of: (i) Replacing any



26
  Travis O. Brandon, A Wall Impervious to Facts: Seawalls, Living Shorelines, and the U.S. Army Corps of
Engineers’ Continuing Authorization of Hard Coastal Armoring in the Face of Sea Level Rise, 93 Tulane L. Rev.
557, 564 (2019).

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portion of a water of the United States with dry land; or (ii) Changing the bottom elevation of

any portion of a water of the United States.” 33 C.F.R. § 323.2(c), (e)(1).

        The Corps had long had authority to regulate obstructions to navigation under Section 10

of the Rivers and Harbors Act of 1899 (“RHA”): any construction, fill, or excavation with the

potential to obstruct navigable waters has long required a permit from the Corps. 33 U.S.C. §

403. The purpose of the RHA was “to protect harbor areas from the congestion caused by

random unplanned construction of wharves and piers.”27 And, for most of the twentieth century,

the Corps and the courts interpreted the RHA to allow denial of “Section 10 permits” only on

grounds that the proposed project would interfere with commerce or navigation.28

        By 1970, however, courts had started to find that the Corps could consider, or was even

required to consider, conservation factors as well as navigation in RHA permitting.29

Consequently, when passing the Clean Water Act in 1972, Congress decided to leave the

responsibility for regulating dredging and filling activities with the Corps. There was significant

opposition to taking that authority from the EPA, on the grounds that “the Corps’ mission was

not to protect the environment but to promote navigation.”30 The compromise was to leave the

jurisdiction with the Corps, but to include section 404(b)(1) of the CWA to subject the Corps’

exercise of permitting authority to binding EPA regulation. 33 U.S.C. § 1344(b)(1).

        The EPA’s “404(b)(1) Guidelines” place very serious limits and restrictions on the

Corps’ permitting authority. The Guidelines prohibit the issuance of any dredge or fill permit

“unless it can be demonstrated that such a discharge will not have an unacceptable adverse


27
   Garrett Power, The Fox in the Chicken Coop: The Regulatory Program of the U.S. Army Corps of Engineers, 63
Va. L. Rev. 503, 506 (1977).
28
   See generally Michael C. Blumm & Elisabeth Mering, Vetoing Wetland Permits Under Section 404(c) of the
Clean Water Act: A History of Inter-Federal Agency Controversy and Reform, 33 UCLA J. Envt. L. & Pol’y 215,
227–28 (2015), and cases cited.
29
   See, e.g., Zabel v. Tabb, 430 F.2d 199, 214 (5th Cir. 1970); Blumm & Mering at 227–28.
30
   Blumm & Mering at 228–29 (quoting Sen. Muskie, chief sponsor of the CWA).

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impact either individually or in combination with known and/or probable impacts of other

activities affecting the ecosystems of concern.” 40 C.F.R. § 230.1(c). The Guidelines also

prohibit the grant of Section 404 permits if there are less environmentally damaging “practicable

alternatives” to the proposed discharges, and they require compensatory mitigation for

unavoidable adverse effects. 40 C.F.R. § 230.10(a).

         In the Section 404 permitting program’s early days, the Corps adopted a very narrow

view that its responsibility extended only to “traditionally navigable” waters, but that view was

rejected in Natural Resources Defense Council v. Callaway, 392 F. Supp. 685, 686 (D.D.C.

1975). Faced with an unwanted and, in its view, unmanageable expansion of its regulatory

responsibility to include all “waters of the United States,” including wetlands,31 the Corps

responded by beginning to issue so-called “general” permits. General permits are “off-the-shelf,”

“one-size-fits-all” permits that apply to broad categories of activities. Their purpose is to avoid

subjecting each new application to the more extensive, project-specific “individual” permitting

process. Typically, unlike the case with “individual” permits, the Defendant Corps’ general

permits do not involve public notice or opportunity for comment on a project; often, they do not

require any delineation of jurisdictional waters; in many cases, they do not even require that the

Corps be notified. SPF at ¶ 182.

         Congress authorized the Corps to use general permits in the 1977 amendments to the

Clean Water Act, but only under very limited circumstances. Under what is now Section 404(e)

of the CWA, the activities in any general permit category must be “similar in nature,” they must



31
   The Corps responded to the Callaway decision by issuing a press release declaring that, because of the court’s
decision, permits would now be required for “the rancher who wants to enlarge his stock pond, or the farmer who
wants to deepen an irrigation ditch or plow a field, or the mountaineer who wants to protect his land against stream
erosion.” Michael C. Blumm & D. Bernard Zaleha, Federal Wetlands Protection Under the Clean Water Act:
Regulatory Ambivalence, Intergovernmental Tension, and a Call for Reform, 60 U.Colo. L. Rev. 695, 705 n. 56
(1989).

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“cause only minimal adverse environmental effects when performed separately,” and they must

“have only minimal cumulative adverse effect on the environment.” 33 U.S.C. § 1344(e)(1).

Consistent with those restrictions, many of the Corps’ general permits involve the kind of minor

discharges one would expect—smaller-scale piers and docks, beach creation and maintenance,

and wildlife ponds. SPF at ¶ 183. But, by their terms, some of the Corps’ general permits today

cover projects that can be massive in scale.

        The Corps’ “utility line” general permits are such an example. Nationwide Permit 12

(NWP 12), which the Corps’ Rock Island district used in this case, and the Utility Regional

General Permit (“Utility RGP”) the St. Paul District used, authorize discharges associated with

the construction, maintenance, repair, and removal of utility lines and associated facilities,

including oil and gas pipelines, electric transmission and collection lines, telephone, cable TV

and internet cables, and so on, if they do not cause the loss of more than one-half acre of waters

of the United States per waterway crossing.32 SPF at ¶ 184.

        NWP 12 was first adopted in 1977, and then reissued every five years since.33 The 2017

version is the one the Corps’ Rock Island District used for the Iowa portion of the CHC

transmission line. The current version of the St. Paul District’s Utility RGP, which was used to

authorize discharges on the Wisconsin portion of the CHC transmission line, was made effective

on February 21, 2018. SPF at ¶ 185. Neither of those reauthorizations was preceded by the


32
   Earlier this year, the Corps divided NWP 12 into three separate nationwide permits: NWP 12 for oil and gas
pipelines, NWP 57 for electric utility lines, and NWP 58 for water lines and other similar substances. U.S. Army
Corps of Engineers, Reissuance and Modification of Nationwide Permits, 86 Fed. Reg. 2,744 (Jan. 13, 2021). Even
if the Corps were to shift the CHC project over to NWP 57, however, the CWA, NEPA, and Endangered Species
Act issues will remain exactly the same. The 2021 proposals still extend to projects with more than minimal adverse
environmental impacts, and they were still not preceded by environmental impact statements or programmatic
consultation with USFWS.
33
   42 Fed. Reg. 37,144 (July 19, 1977). The version used in this case was adopted in 2017. U.S. Army Corps of
Engineers, Issuance and Reissuance of Nationwide Permits, 82 Fed. Reg. 1860 (Jan. 6, 2017) (also in
Administrative Record at NWP000001–NWP000150).


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preparation of an EIS under NEPA34; indeed, it appears that an EIS has never been prepared for

any version of NWP 12 or the Utility RGP. Likewise, neither of those reauthorizations were

preceded by programmatic consultation with USFWS under Section 7 of the Endangered Species

Act. SPF at ¶ 190, 191. The Defendant Corps’ apparent position is that the utility line projects

covered by NWP 12 and the Utility RGP have no more than “minimal” adverse environmental

impacts in virtually all cases, either individually or cumulatively, and so the general permits

comply with section 404(e) of the CWA. Likewise, again because the impacts are supposedly so

minimal, the Corps has never carried out programmatic environmental impact statements or

programmatic endangered species consultations for those general permits. SPF at ¶ 187-191.

That flawed approach is under challenge nationally.

       B. The Defendant Corps’ Conclusion that Major Projects like the CHC
          Transmission Line Will Have No More than “Minimal” Impacts on the
          Environment Is Contrary to CWA section 404(e)(1).

        It of course defies common sense to conclude that the potential adverse environmental

impacts of the massive CHC high-voltage transmission line project will be no more than

“minimal.” Yet the Defendant Corps still takes the “minimal impact” position and refused to do

individual permitting.

        How does the Corps justify this counterintuitive conclusion? There are three basic Corps

arguments. First, the Corps defines “project” narrowly to minimize the agency’s jurisdiction and

responsibility. Second, the Corps claims it can defer review of potential environmental impacts

and possible conditions to the project stage and still use general permits. And third, the Corps

argues that “compensatory mitigation” can and will always bring adverse environmental impacts

below the “minimal” threshold. None of those arguments have merit.


34
  The Corps instead relied on a less rigorous analysis under NEPA called an Environmental Assessment, which is
used by agencies to determine whether or not an EIS is required. SPF at ¶ 187.

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                1. The Defendant Corps’ Policy of Defining Each Individual Water Crossing as
                   a Separate “Project” to Avoid Individual Permitting Violates Section 404(e)
                   of the Clean Water Act.

        The Defendant Corps’ first argument is that large projects like the CHC transmission line

are not single projects at all, but rather a series of discrete projects at each individual river,

stream, or wetland crossing. “[E]ach crossing of a water body at a separate and distant location”

is a “single and complete project.” SPF at ¶ 191, 192. In other words, the argument is that the

Corps does not regulate pipelines or transmission lines per se; it only regulates discharges of

dredged or fill material at discrete disposal sites, and, with proper precautions, those discharges

will not have more than a minimal impact. This is the same contention, of course, that allows the

Corps to get around its own “half-acre” requirement—that, if a project will result in more than a

half-acre of protected waters or wetlands being converted, then a more extensive individual

permit is required. SPF at ¶ 184.

        Under the Corps’ interpretation, then, there is no limit to the number of times its “utility

line” general permits can be applied to an individual project like the CHC transmission line, nor

is there any limit to the number of acres of protected waterbodies and wetlands a project like the

CHC transmission line can damage before triggering an individual permit requirement. That

result flies in the face of the very real limits Congress imposed on the Corps’ general permitting

authority in Section 404(e), 33 U.S.C. § 1344(e).

        In particular, the requirement that a category of actions covered by a general permit have

no more than minimal cumulative adverse environmental impacts gets read right out of the

statute. General permits like NWP 12 and St. Paul’s Utility RGP cover thousands of discharges,

SPF at ¶ 182 (Corps estimate at time of 2017 NWP issuance that the permits would authorize

over 60,000 activities per year), and the cumulative impact of those discharges cannot fairly be



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characterized as only “minimal.” Even under the Corps’ definition, then, the statutory

requirements of minimal impacts simply cannot be met.

               2. The Defendant Corps Cannot Lawfully Avoid Making the “Minimal Impact”
                  Analysis Section 404(e) Requires for General Permits by Simply Deferring
                  Impact “Analysis” to the Individual Project Stage.

       The Corps’ response is that, despite its clear language, Section 404(e) does not require

the agency to assess whether impacts will be “minimal” before it issues general permits. Instead,

the Corps argues, it can defer consideration of cumulative impacts to the project stage, and, if it

concludes that a particular project’s cumulative impacts will be minimal, then verifying that an

applicant can use a general permit for that project is lawful under Section 404(e).

       In Ohio Valley Environmental. Coalition v. Bulen, 410 F.Supp. 2d 450 (S.D. W.Va.

2004), aff’d in part, vacated in part, 429 F.3d 493 (4th Cir. 2005), the court concluded that

Section 404(e) unambiguously required the Corps to determine minimal impacts before, not

after, issuance of a general permit. As the court reasoned, “[i]f the Corps cannot define a

category of activities that will have minimal effects, absent individual review of each activity,

the activities are inappropriate for general permitting.” 410 F.Supp. 2d at 465.

       The issuance of a [general] permit . . . functions as a guarantee ab initio that every
       instance of the permitted activity will meet the minimal impact standard. Congress
       intended for a potential discharger whose project fits into one of those categories to
       begin discharging with no further involvement from the Corps, no uncertainty, and
       no red tape.

410 F.Supp. 2d at 465–66 (citing colloquy between Sens. Muskie and Nunn in legislative

history); see also Sierra Club v. U.S. Army Corps of Eng’rs, 399 F.Supp.2d 1335, 1345–47

(M.D. Fla. 2005), vacated in part, 464 F.Supp.2d 1171 (M.D. Fla. 2006).

       Other courts have disagreed, including the Fourth Circuit in the Ohio Valley case, which

deferred to the Corps’ proffered interpretation under Chevron. In large part, the Fourth Circuit’s

explanation for finding the interpretation reasonable was that it would be difficult for the Corps
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to predict the environmental impact of activities not yet identified. 429 F.3d at 501–02. The

problem with that reasoning, however, is that if the Corps cannot confidently predict that a

category of activities will not have more than a minimal impact in different circumstances at the

time it is considering a general permit, it should conclude that a general permit is not appropriate.

Under section 404(e), it is a precondition for a general permit that the category of activities will

indeed not have more than minimal impacts. If the Corps cannot draw conclusions about impacts

until the individual project stage, then those projects should go through individual permitting.

With all due respect to the Fourth Circuit, the district court in Ohio Valley has the better side of

this argument.35 The Corps cannot evade the requirement that it assess whether general permits

will have no more than a minimal adverse environmental impact by just deferring any analysis of

environmental impacts to the individual project stage.

                 3. The Defendant Corps Cannot Lawfully Evade the “Minimal Impact”
                    Requirement Simply by Asserting that Compensatory Mitigation Will, in All
                    Cases, Reduce Negative Environmental Impacts Below the “Minimal”
                    Threshold.

        The Corps’ third principal argument for why it can conclude that projects like the CHC

transmission line will have no more than “minimal” adverse environmental impacts is that there

is always some way to provide “compensatory mitigation” to make up for any environmental

damage and adverse impacts. In other words, if it turns out that discharges of dredged or fill

material from a project like the massive CHC transmission line do have significant adverse

environmental impacts, then the Corps can always ask the applicant to purchase wetland banking

credits or take some other kind of mitigation measure to offset that impact. That “compensatory




35
  To our knowledge, the Seventh Circuit has not confronted this question. Tenth Circuit and D.C. Circuit panels
have followed the Fourth Circuit. Sierra Club v. Bostick, 787 F.3d 1043, 1061 (10th Cir. 2015); Sierra Club v. U.S.
Army Corps of Eng’rs, 803 F.3d 31, 39 (D.C. Cir. 2015).

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mitigation” will, in the Corps’ view, bring the impact back under the “no more than minimal”

threshold. SPF at ¶ 188.

       That argument swallows the “minimal impact” rule whole, because it assumes without

knowing or requiring documentation that compensatory mitigation will always be possible and

successful. That is not a legitimate assumption. As the Sixth Circuit recognized:

       Under the CWA, the issuance of a nationwide permit hinges on the reviewing
       agency’s finding that a proposal has only a “minimal cumulative adverse effect on
       the environment.” 33 U.S.C. § 1344(e)(1); see also 40 C.F.R. § 230.7(a)(3). In
       making this finding, the relevant CWA regulations require an agency to (i) “set
       forth in writing an evaluation of the potential . . . cumulative impacts of the category
       of activities to be regulated” by the proposal, 40 C.F.R. § 230.7(b) and (ii) provide
       “documented information supporting each factual determination [required by §
       230.11],” id. § 230.7(b)(1) (emphasis added), including a determination of
       cumulative impacts, d. § 230.11(g).

Kentucky Riverkeeper, Inc. v. Rowlette, 714 F.3d 402, 412 (6th Cir. 2013). The Court

acknowledged that post-issuance mitigation or other conditions could potentially support a

minimal cumulative impact finding, but made it clear that such a finding required more than

conclusory statements or lists of potential mitigation methods. Id; see also Ohio Valley Env’t

Coalition v. Hurst, 604 F.Supp.2d 860, 867 (S.D.W.Va. 2009) (deeming “conclusory” the Corps’

“unsupported belief in the success of mitigation measures” and explaining that the Corps’ “‘mere

listing’ of mitigation measures and processes, without any analysis, cannot support a minimal

cumulative impacts determination”).

       The same reasoning applies here. NWP 12 and the St. Paul District’s Utility RGP cover a

wide variety of “linear” projects, that might cross a wide variety of different geographies with

very different potential risks to water quality. The facts here are that the 101-mile CHC

transmission line that crosses through 114 wetlands and the Mississippi River does create very

significant risks and damaging impacts to water quality. This huge transmission line would run

through the unique topology of Wisconsin’s Driftless Area, with its karst geology—a region with
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many cracks and crevices in the bedrock, and intricate ground and surface water connections—

which allows pollutants to quickly and easily spread through groundwater. SPF at ¶ 144. If this

huge transmission line and tall towers impair a particularly fragile wetland complex, it is not at

all clear what conditions or mitigation measures might be available, might be effective, or might

be enforceable. Large projects like this simply are not “similar in nature” to smaller “linear”

projects with a limited geographic reach, for which effective mitigation measures might be easy

to select and to implement. Using the mere theoretical possibility that every problem that might

arise will have a mitigation solution as justification for a finding of “minimal cumulative impact”

is simply not supportable. The Corps’ “one size fits all approach” does not fit well for the

massive CHC transmission line.

      C. Because the Defendant Corps’ General Permits for “Utility Lines” Do Have
         Significant Environmental Impacts, They Are Also Invalid Because They Were
         Not Preceded by an Environmental Impact Statement as NEPA Requires and by
         Programmatic Consultation with the USFWS as the Endangered Species Act
         Requires.

       The same arguments that the Corps uses to contend that its “utility line” general permits

have no more than a minimal environmental impact under Section 404(e) of the Clean Water Act

are the ones it uses to justify why it has never issued an environmental impact statement or

engaged in a programmatic consultation with the USFWS before issuing or renewing those

general permits: Each river, stream, or wetland crossing should be treated as a separate “project,”

all analysis of impacts can be and should be deferred to the individual project stage, and, if all

else fails, compensatory mitigation will always be available to reduce environmental impacts

below any of the statutory thresholds.

       None of these arguments have merit under NEPA or the Endangered Species Act

(“ESA”). NEPA provides that federal agencies must prepare environmental impact statements on



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all “proposals for . . . major Federal actions significantly affecting the quality of the human

environment.” 42 U.S.C. § 4332(2)(C). General permits that set the requirements for all crossing

by transmission lines of waterways or wetlands of whatever size or location throughout the

nation or throughout a region certainly meet the statutory test of “major federal actions

significantly affecting the quality of the human environment,” id., as well as the Council on

Environmental Quality definitions. 40 C.F.R. §§ 1508.18, 1508.27. A “programmatic EIS”

should be prepared when actions are “connected,” “cumulative,” or sufficiently “similar” such

that a broader review becomes “the best way to assess adequately the combined impacts of

similar actions or reasonable alternatives to such actions.” 40 C.F.R. § 1508.25(a); see generally

Kleppe v. Sierra Club, 427 U.S. 390, 409 (1976) (discussing when a programmatic EIS may be

necessary).

       This case does not present the so-called “small handle” problem, which describes when

there is a dispute about whether the Corps itself must prepare an EIS before determining whether

a project comes within the scope of a general permit. See, e.g. Sierra Club, 803 F.3d 31 (no EIS

required for pipeline project covered by NWP 12). There is no dispute here whether a project-

specific EIS was required for the CHC transmission line—the Defendant RUS’s environmental

review rules required it, and an EIS was indeed completed. The question here is over the decision

of the Defendant Corps not to complete an EIS on the general permits themselves, not on any

specific project.

       The Endangered Species Act requires review of broad agency decisions that may affect

listed species or critical habitat. Section 7(a)(2) of the Endangered Species Act, 16 U.S.C. §

1536(a)(2), requires each federal agency to ensure “that any action authorized, funded, or carried

out by such agency … is not likely to jeopardize the continued existence of any endangered



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species or threatened species or result in the destruction or adverse modification of habitat of

such species which is determined by [USFWS] … to be critical.” The agency must review its

actions “at the earliest possible time to determine whether any action may affect listed species or

critical habitat.” 50 C.F.R. § 402.14(a). Then, if the agency finds its action “may affect” a listed

species or critical habitat, it must initiate formal consultation with USFWS unless the agency has

made a finding, with USFWS concurrence, that the action’s effects are not likely to be adverse.

16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14. A “programmatic” consultation is appropriate when

an agency’s proposed action “provid[es] a framework for future proposed actions.” 50 C.F.R. §

402.02. That is precisely what a general permit is—a “framework for future proposed actions.”

       The Defendant Corps’ “general” permits are therefore not valid unless the agency

complies with its obligation under the Endangered Species Act to consult on the proposed

permits’ potential impacts on listed species and their critical habitat. U.S. Fish and Wildlife

Service, Interagency Cooperation—Endangered Species Act of 1973, as Amended; Incidental

Take Statements, 80 Fed. Reg. 26,832, 26,835 (May 11, 2015) (expressly listing the Corps’

Nationwide Permit Program as an example of a program that would require programmatic

consultation). The Corps renewed and readopted both NWP 12 and the Utility RGP in 2017 and

2018, respectively, without consulting with USFWS as required by Section 7 of the ESA. SPF at

¶¶ 190–191.

       On April 15, 2020, the United States District Court for the District of Montana concluded

that the Corps’ failure to initiate formal programmatic consultation with USFWS under Section

7(a)(2) of the Endangered Species Act before renewing NWP 12 in 2017 was arbitrary and

capricious. Northern Plains Resource Council v. U.S. Army Corps of Engineers, 454 F.Supp. 3d

985 (D. Mont. 2020), amended 460 F.Supp.3d 1030 (D. Mont. 2020), appeal dismissed as moot



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No. 20-35412 (9th Cir., Aug. 11, 2021). In the decision document adopting NWP 12, the Corps

itself acknowledged that the construction of utility lines “will fragment terrestrial and aquatic

ecosystems,” and that dredged and fill material can have temporary or permanent impacts,

including losses of aquatic resource functions and services. SPF at ¶ 193. For those reasons, the

district court found “resounding evidence” that the adoption of NWP 12 easily met the “may

affect” threshold and required consultation. 454 F. Supp. 3d at 990–91.

       The district court had little patience for the Corps’ argument that programmatic

consultation was not required, because each project that might involve listed species would get

its own project-specific consultation. As the court reasoned:

       Programmatic consultation considers the effect of an agency’s proposed activity as
       a whole. A biological opinion analyzes whether an agency action likely would
       jeopardize a listed species or adversely modify designated critical habitat. This type
       of analysis allows for a broad-scale examination of a nationwide program’s
       potential impacts on listed species and critical habitat. A biological opinion may
       rely on qualitative analysis to determine whether a nationwide program and the
       program’s set of measures intended to minimize impacts or conserve listed species
       adequately protect listed species and critical habitat. Programmatic-level biological
       opinions examine how the overall parameters of a nationwide program align with
       the survival and recovery of listed species. An agency should analyze those types
       of potential impacts in the context of the overall framework of a programmatic
       action. A broad examination may not be conducted as readily at a later date when
       the subsequent activity would occur.

454 F.Supp.3d at 990 (internal citations omitted). See also Western Watersheds Project v.

Kraayenbrink, 632 F.3d 472 (9th Cir. 2011) (overturning Bureau of Land Management’s

nationwide grazing regulations for inadequate environmental review and lack of programmatic

consultation with USFWS under the ESA). The same reasoning of the court in Northern Plains,

a case about NWP 12 as applied to a pipeline, holds true in this case for NWP 12 (or the new

NWP 57) as well as for the similar Utility RGP.

       The Corps, of course, tries to have it both ways. It avoids considering whether the

individual and cumulative impacts of its general permits will be significant by deferring the
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assessment of impacts to the project stage, and then avoids considering impacts at the project

stage by referring back to the general permits. The result is that serious consideration of

alternatives—greater use of individual permit processes, caps (size, number of crossings) on

availability of general permits, mitigation development, assessment, monitoring and

enforcement—does not occur, even though that consideration of alternatives is precisely what

the CWA, NEPA, and the ESA all require.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiffs’

motion for a summary judgment and vacate and remand the Defendant RUS’s Record of

Decision approving the EIS, and the Defendants USFWS and Corps’ approvals of permits and

other authorizations for the proposed CHC transmission line as explained above.




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Respectfully submitted this 3rd day of September, 2021.




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